                    IN THE UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF NEW YORK

JAMES CONTANT, SANDRA LAVENDER,
VICTOR HERNANDEZ, MARTIN-HAN
TRAN, FX PRIMUS LTD., CARLOS
GONZALEZ, UGNIUS MATKUS, CHARLES
G. HITCHCOCK III, JERRY JACOBSON,
TINA PORTER, AND PAUL VERMILLION,
on behalf of themselves and all others similarly
situated,
                                                    Civil Action No. 17-cv-3139-LGS
Plaintiffs,
                                                   CONSOLIDATED CLASS ACTION
v.                                                        COMPLAINT

BANK OF AMERICA CORPORATION;                          JURY TRIAL DEMANDED
BANK OF AMERICA, N.A.; MERRILL
LYNCH, PIERCE, FENNER & SMITH INC.;
THE BANK OF TOKYO MITSUBISHI UFJ
LTD.; BARCLAYS BANK PLC; BARCLAYS
CAPITAL INC.; BNP PARIBAS GROUP; BNP
PARIBAS NORTH AMERICA, INC.; BNP
PARIBAS SECURITIES CORP.; BNP
PARIBAS PRIME BROKERAGE, INC.;
CITIGROUP INC.; CITIBANK, N.A.;
CITICORP; CITIGROUP GLOBAL
MARKETS INC.; CREDIT SUISSE GROUP
AG; CREDIT SUISSE AG; CREDIT SUISSE
SECURITIES (USA) LLC; DEUTSCHE BANK
AG; DEUTSCHE BANK SECURITIES INC.;
THE GOLDMAN SACHS GROUP, INC.;
GOLDMAN, SACHS & CO.; HSBC
HOLDINGS PLC; HSBC BANK PLC; HSBC
NORTH AMERICA HOLDINGS, INC.; HSBC
BANK USA, N.A.; HSBC SECURITIES (USA)
INC.; JPMORGAN CHASE & CO.;
JPMORGAN CHASE BANK, N.A.; MORGAN
STANLEY; MORGAN STANLEY & CO., LLC;
MORGAN STANLEY & CO.
INTERNATIONAL PLC; RBC CAPITAL
MARKETS LLC; ROYAL BANK OF
SCOTLAND GROUP PLC; RBS SECURITIES
INC.; SOCIÉTÉ GÉNÉRALE S.A.;
STANDARD CHARTERED BANK; UBS AG;
UBS GROUP AG; and UBS SECURITIES LLC;

Defendants.
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         Plaintiffs James Contant, Sandra Lavender, Victor Hernandez, Martin-Han Tran, FX

Primus Ltd., Carlos Gonzalez, Ugnius Matkus, Charles G. Hitchcock III, Jerry Jacobson, Tina

Porter, and Paul Vermillion (collectively, “Plaintiffs”), on behalf of themselves and the proposed

Classes (defined below), make these allegations against Defendants based upon personal

knowledge as to matters relating to themselves, and upon information and belief, documents

produced in related litigation and government investigations, and the investigations of counsel as

to all other matters.

                                        NATURE OF THE ACTION

         1.       This case involves a conspiracy among horizontal competitors to fix the prices of

foreign currencies (“FX”) and foreign currency instruments. Plaintiffs bring this action for

equitable and injunctive relief on behalf of a proposed Nationwide Class, and to recover for injuries

caused by Defendants on behalf of the proposed State Classes. 1 Plaintiffs and members of the

proposed Classes are indirect purchasers of FX Instruments 2 from Defendants and/or Defendants’

co-conspirators.

         2.       Beginning at least as early as 2007 and continuing through at least 2013,

Defendants conspired with each other to fix prices in the FX market. Defendants communicated

with each other daily, exchanging confidential customer information and coordinating their trading

strategies to manipulate FX benchmark rates and fix FX prices. These collusive communications

were widespread throughout Defendants’ FX trading departments. As one FX trader at Barclays

put it, “if you aint cheating, you aint trying.”


1
 See Class definitions, infra at “Class Action Allegations.”
2
 “FX Instrument” is defined in this Complaint and in the FOREX settlements as any FX spot transaction, forward,
swap, future, option, or any other FX transaction or instrument the trading or settlement value of which is related in
any way to FX rates. “FX Exchange-Traded Instrument” is defined in this Complaint and in the FOREX settlements
as any FX Instrument that was listed for trading through a U.S. exchange, including, but not limited to, FX futures
contracts and options contracts.


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       3.     Defendants’ conspiracy impacted the prices of all forms of FX Instruments

throughout the Class Period.

       4.     Defendants’ conspiracy has been the subject of antitrust investigations by multiple

U.S., foreign, and international governmental authorities. Several government authorities have

imposed fines and other sanctions on one or more Defendants, including the U.S. Department of

Justice, U.S. Commodity Futures Trading Commission, U.S. Federal Reserve, New York State

Department of Financial Services, United Kingdom Financial Conduct Authority, the Swiss

Financial Market Supervisory Authority, and the South African Competition Commission. Thus

far, Defendants have been ordered to pay over $11 billion in fines and settlements to government

authorities for their involvement in the FX market manipulation conspiracy.

       5.     Defendants’ conspiracy is also the subject of a nationwide direct purchaser antitrust

class action currently pending before this Court, brought on behalf of persons and entities that

purchased FX Instruments directly from one or more Defendants or co-conspirators, and persons

and entities that purchased FX Exchange-Traded Instruments directly on a U.S. exchange

(collectively, the “Direct Purchaser Class Plaintiffs”). In re Foreign Exchange Benchmark Rates

Antitrust Litigation, 1:13-cv-07789-LGS (S.D.N.Y.) (“FOREX”). On October 22, 2015, the

Direct Purchaser Class Plaintiffs in FOREX moved for preliminary approval of settlements totaling

$2,009,075,000 with the following Defendants: Bank of America Corporation; Bank of America,

N.A.; Merrill Lynch, Pierce, Fenner & Smith Inc.; Barclays Bank PLC; Barclays Capital Inc.; BNP

Paribas Group; BNP Paribas North America Inc.; BNP Paribas Securities Corp.; BNP Prime

Brokerage, Inc.; Citigroup Inc.; Citibank, N.A.; Citicorp; Citigroup Global Markets Inc.; The

Goldman Sachs Group, Inc.; Goldman, Sachs & Co.; HSBC Holdings PLC; HSBC Bank PLC;

HSBC North America Holdings Inc.; HSBC Bank USA, N.A.; HSBC Securities (USA) Inc.;




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JPMorgan Chase & Co.; JPMorgan Chase Bank, N.A.; The Royal Bank of Scotland Group PLC;

The Royal Bank of Scotland PLC; RBS Securities Inc.; UBS AG; UBS Group AG; and UBS

Securities LLC (collectively, the “Settling Defendants”). See FOREX, ECF No. 480.                  On

December 15, 2015, this Court preliminarily approved the settlements, designated a settlement

administrator, and preliminarily certified a settlement class of persons and entities that entered into

an FX Instrument directly with a Defendant or co-conspirator (the “Direct Settlement Class”) and

a settlement class of persons and entities that entered into an FX Exchange-Traded Instrument

directly on a U.S. exchange (the “Exchange-Only Settlement Class”). Id. at ECF No. 536. The

FOREX litigation is ongoing against the remaining Defendants: Bank of Tokyo-Mitsubishi UFJ

Ltd.; Credit Suisse Group AG; Credit Suisse AG; Credit Suisse Securities (USA) LLC; Deutsche

Bank AG; Deutsche Bank Securities Inc.; Morgan Stanley; Morgan Stanley & Co., LLC; Morgan

Stanley & Co. International plc; RBC Capital Markets, LLC; Société Générale S.A.; and Standard

Chartered Bank (collectively, the “Non-Settling Defendants”). The Defendants currently named

in FOREX (including Settling Defendants and Non-Settling Defendants) are identical to the

Defendants named in this action.

       6.      Plaintiffs and members of the proposed Classes in this action purchased FX

Instruments directly from members of the preliminarily-certified Direct Settlement Class in

FOREX.

               JURISDICTION, VENUE, AND INTERSTATE COMMERCE

       7.      This Court has subject matter jurisdiction under the Clayton Antitrust Act, 15

U.S.C. §§ 15 and 26; the Sherman Act, 15 U.S.C. § 1; and 28 U.S.C. §§ 1331 and 1337(a). This

Court also has subject matter jurisdiction for Plaintiffs’ state-law claims under 28 U.S.C. § 1332(d)

and 1367(a), in that: (a) this is a class action in which the aggregate amount in controversy exceeds

the sum of $5,000,000, exclusive of interest and costs, and in which some members of the proposed


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Classes are citizens of a state different from some Defendants; and (b) Plaintiffs’ state-law claims

form all or part of the same case or controversy as their federal claims under Article III of the

United States Constitution.

        8.          The Court has personal jurisdiction over each Defendant because Defendants’

collusive and manipulative acts took place, in substantial part, in New York specifically and in the

United States generally. These acts were conducted by persons and entities subject to the laws of

the United States, as well as New York, Arizona, California, Illinois, Florida, Massachusetts,

Minnesota, North Carolina, and other states. Each Defendant has continuously and systematically

transacted FX in this District and throughout the United States.              Most Defendants are

headquartered in, maintain their principal place of business in, or maintain offices in New York.

Defendant traders located outside of the United States communicated directly with Defendant

traders located in New York to carry out and facilitate the conspiracy. Defendants’ conspiracy

was directed at, and had the intended effect of, causing injury to persons residing in, located in, or

doing business in this District and throughout the United States. Defendants’ conduct was within

the flow of, and had a substantial effect on, the interstate commerce of the United States, including

in this District.

        9.          Venue is proper in this District pursuant to 28 U.S.C. § 1391(b) and 15 U.S.C. §

22.   All Defendants reside, transact business, are found, or have agents in this District.

Additionally, a substantial part of the events giving rise to Plaintiffs’ claims occurred in this

District, and a substantial portion of the affected interstate trade and commerce described herein

has been carried out in this District.




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                                           PARTIES

I.     Plaintiffs

       10.     Plaintiff James Contant is an individual and a resident of Monroe County, New

York. During the Class Period defined below, Plaintiff James Contant transacted FX Instruments

directly with an FX broker that transacted those FX Instruments directly with one or more

Defendants. Specifically, Plaintiff James Contant engaged in FX spot transactions with currency

pairs including EUR/USD, USD/JPY, EUR/JPY, AUD/USD, and USD/CHF directly with an FX

broker where the FX broker transacted those FX Instruments directly with Defendants including

Bank of America, Barclays, BNP Paribas, Citigroup, Credit Suisse, Deutsche Bank, Goldman

Sachs, Morgan Stanley, RBS, RBC, SocGen, and UBS. As a result of Defendants’ illegal conduct

described herein, the FX broker paid artificially inflated prices for FX Instruments purchased

directly from Defendants and Defendants’ co-conspirators, and passed on those overcharges on

FX Instruments to its customers, including Plaintiff James Contant. Thus, Plaintiff James Contant

indirectly purchased FX Instruments from one or more Defendants during the Class Period and

was injured as a result of Defendants’ anticompetitive conduct alleged herein. Plaintiff James

Contant is referred to herein as the “New York Plaintiff.”

       11.     Plaintiff Sandra Lavender is an individual and resident of Maricopa County,

Arizona. During the Class Period defined below, Plaintiff Sandra Lavender transacted FX

Instruments directly with an FX broker that transacted those FX Instruments directly with one or

more Defendants. Specifically, Plaintiff Sandra Lavender engaged in FX spot transactions with

the currency pair EUR/USD directly with an FX broker where the FX broker transacted those FX

Instruments directly with Defendants including JPMorgan, Morgan Stanley, and RBS. As a result

of Defendants’ illegal conduct described herein, those FX brokers paid artificially inflated prices

for FX Instruments purchased directly from Defendants and Defendants’ co-conspirators, and


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passed on those overcharges on FX Instruments to their customers, including Plaintiff Sandra

Lavender. Thus, Plaintiff Sandra Lavender indirectly purchased FX Instruments from one or more

Defendants during the Class Period and was injured as a result of Defendants’ anticompetitive

conduct alleged herein. Plaintiff Sandra Lavender is referred to herein as the “Arizona Plaintiff.”

       12.     Plaintiff Victor Hernandez is an individual and resident of Los Angeles County,

California. During the Class Period defined below, Plaintiff Victor Hernandez transacted FX

Instruments directly with an FX broker that transacted those FX Instruments directly with one or

more Defendants. Specifically, Plaintiff Victor Hernandez engaged in FX spot transactions with

currency pairs including GBP/JPY, GBP/USD, and USD/JPY directly from an FX broker where

the FX broker purchased those FX Instruments directly from Defendants including JPMorgan,

Morgan Stanley, and RBS. As a result of Defendants’ illegal conduct described herein, the FX

broker paid artificially inflated prices for FX Instruments purchased directly from Defendants and

Defendants’ co-conspirators, and passed on those overcharges on FX Instruments to its customers,

including Plaintiff Victor Hernandez. Thus, Plaintiff Victor Hernandez indirectly purchased FX

Instruments from one or more Defendants during the Class Period and was injured as a result of

Defendants’ anticompetitive conduct alleged herein.

       13.     Plaintiff Martin-Han Tran is an individual and resident of Orange County,

California. During the Class Period defined below, Plaintiff Martin-Han Tran transacted FX

Instruments directly with an FX broker that transacted those FX Instruments directly with one or

more Defendants. Specifically, Plaintiff Martin-Han Tran engaged in FX spot transactions with

currency pairs including USD/JPY, AUD/USD, USD/CAD, USD/CHF, GBP/USD, EUR/JPY,

EUR/USD, EUR/GBP, GBP/JPY, EUR/CHF, and GBP/AUD directly with an FX broker where

the FX broker transacted those FX Instruments directly with Defendants including Bank of




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America, Barclays, BNP Paribas, Citigroup, Credit Suisse, Deutsche Bank, Goldman Sachs,

Morgan Stanley, RBS, RBC, SocGen, and UBS. As a result of Defendants’ illegal conduct

described herein, the FX broker paid artificially inflated prices for FX Instruments purchased

directly from Defendants and Defendants’ co-conspirators, and passed on those overcharges on

FX Instruments to its customers, including Plaintiff Martin-Han Tran. Thus, Plaintiff Martin-Han

Tran indirectly purchased FX Instruments from one or more Defendants during the Class Period

and was injured as a result of Defendants’ anticompetitive conduct alleged herein. Plaintiffs Victor

Hernandez and Martin-Han Tran are collectively referred to herein as the “California Plaintiffs.”

       14.     Plaintiff FX Primus Ltd. (“FX Primus”) is a limited liability company doing

business in the state of Florida. During the Class Period defined below, Plaintiff FX Primus

transacted FX Instruments directly with an FX broker that transacted those FX Instruments directly

with one or more Defendants. Specifically, Plaintiff FX Primus engaged in FX spot transactions

with currency pairs including USD/JPY, EUR/USD, EUR/JPY, and USD/CHF directly from an

FX broker where the FX broker purchased those FX Instruments directly from Defendants

including Bank of America, Barclays, BNP Paribas, Citigroup, Credit Suisse, Deutsche Bank,

Goldman Sachs, Morgan Stanley, RBS, RBC, SocGen, and UBS. As a result of Defendants’ illegal

conduct described herein, the FX broker paid artificially inflated prices for FX Instruments

purchased directly from Defendants and Defendants’ co-conspirators, and passed on those

overcharges on FX Instruments to its customers, including Plaintiff FX Primus. Thus, Plaintiff

FX Primus indirectly purchased FX Instruments from one or more Defendants during the Class

Period and was injured as a result of Defendants’ anticompetitive conduct alleged herein.

       15.     Plaintiff Carlos Gonzalez is an individual and resident of Broward County, Florida.

During the Class Period defined below, Plaintiff Carlos Gonzalez transacted FX Instruments




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directly with an FX broker that transacted those FX Instruments directly with one or more

Defendants. Specifically, Plaintiff Carlos Gonzalez engaged in FX spot transactions with currency

pairs including EUR/USD, GBP/USD, USD/CHF, EUR/CHF, USD/JPY, AUD/JPY, CHF/JPY,

NZD/USD, and EUR/GBP directly from an FX broker where the FX broker purchased those FX

Instruments directly from Defendants including Bank of America, Barclays, BNP Paribas,

Citigroup, Credit Suisse, Deutsche Bank, Goldman Sachs, Morgan Stanley, RBS, RBC, SocGen,

and UBS. Specifically, Plaintiff Carlos Gonzalez engaged in FX spot transactions with currency

pairs including AUD/CAD, EUR/USD, GBP/USD, USD/JPY, AUD/USD, EUR/USD,

AUD/CHF, EUR/JPY, NZD/USD, NZD/JPY, EUR/AUD, AUD/NZD, and GBP/JPY directly with

an FX broker where the FX broker transacted those FX Instruments directly with Defendants

including Bank of America, Barclays, BNP Paribas, Citigroup, Credit Suisse, Deutsche Bank,

Goldman Sachs, Morgan Stanley, RBS, RBC, SocGen, and UBS. As a result of Defendants’ illegal

conduct described herein, the FX broker paid artificially inflated prices for FX Instruments

purchased directly from Defendants and Defendants’ co-conspirators, and passed on those

overcharges on FX Instruments to its customers, including Plaintiff Carlos Gonzalez. Thus,

Plaintiff Carlos Gonzalez indirectly purchased FX Instruments from one or more Defendants

during the Class Period and was injured as a result of Defendants’ anticompetitive conduct alleged

herein. Plaintiffs FX Primus and Carlos Gonzalez are collectively referred to herein as the “Florida

Plaintiffs.”

        16.    Plaintiff Ugnius Matkus is an individual and resident of Cook County, Illinois.

During the Class Period defined below, Plaintiff Ugnius Matkus transacted FX Instruments with

several FX brokers, all of which transacted those FX Instruments directly with one or more

Defendants. Specifically, Plaintiff Ugnius Matkus engaged in FX spot transactions with currency




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pairs including EUR/USD, AUD/USD, AUD/JPY, EUR/JPY, USD/CHF, CHF/JPY, and

GBP/USD directly with FX brokers where the FX brokers transacted those FX Instruments directly

with Defendants including Bank of America, Barclays, BNP Paribas, Citigroup, Credit Suisse,

Deutsche Bank, Goldman Sachs, Morgan Stanley, RBS, RBC, SocGen, and UBS. As a result of

Defendants’ illegal conduct described herein, those FX brokers paid artificially inflated prices for

FX Instruments purchased directly from Defendants and Defendants’ co-conspirators, and passed

on those overcharges on FX Instruments to their customers, including Plaintiff Ugnius Matkus.

Thus, Plaintiff Ugnius Matkus indirectly purchased FX Instruments from one or more Defendants

during the Class Period and was injured as a result of Defendants’ anticompetitive conduct alleged

herein. Plaintiff Ugnius Matkus is referred to herein as the “Illinois Plaintiff.”

       17.     Plaintiff Charles G. Hitchcock III is an individual and resident of Suffolk County,

Massachusetts.    During the Class Period defined below, Plaintiff Charles G. Hitchcock III

transacted FX Instruments with several FX brokers, all of which transacted those FX Instruments

directly with one or more Defendants. Specifically, Plaintiff Charles G. Hitchcock III engaged in

FX spot transactions with currency pairs including GBP/JPY, EUR/USD, AUD/USD, EUR/AUD,

and GBP/USD directly with FX brokers where the FX brokers transacted those FX Instruments

directly with Defendants including Bank of America, Barclays, BNP Paribas, Citigroup, Credit

Suisse, Deutsche Bank, Goldman Sachs, Morgan Stanley, RBS, RBC, SocGen, and UBS. As a

result of Defendants’ illegal conduct described herein, those FX brokers paid artificially inflated

prices for FX Instruments purchased directly from Defendants and Defendants’ co-conspirators,

and passed on those overcharges on FX Instruments to their customers, including Plaintiff Charles

G. Hitchcock III. Thus, Plaintiff Charles G. Hitchcock III indirectly purchased FX Instruments

from one or more Defendants during the Class Period and was injured as a result of Defendants’




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anticompetitive conduct alleged herein. Plaintiff Charles G. Hitchcock III is referred to herein as

the “Massachusetts Plaintiff.”

       18.     Plaintiff Jerry Jacobson is an individual and resident of Wright County, Minnesota.

During the Class Period defined below, Plaintiff Jerry Jacobson transacted FX Instruments directly

with an FX broker that transacted those FX Instruments directly with one or more Defendants.

Specifically, Plaintiff Jerry Jacobson engaged in FX spot transactions with currency pairs

including AUD/USD, EUR/USD, GBP/USD, USD/CAD, USD/CHF, EUR/GBP, GBP/CHF, and

EUR/JPY directly with an FX broker where the FX broker transacted those FX Instruments

directly with Defendants including JPMorgan, Morgan Stanley, and RBS.               As a result of

Defendants’ illegal conduct described herein, the FX broker paid artificially inflated prices for FX

Instruments purchased directly from Defendants and Defendants’ co-conspirators, and passed on

those overcharges on FX Instruments to its customers, including Plaintiff Jerry Jacobson. Thus,

Plaintiff Jerry Jacobson indirectly purchased FX Instruments from one or more Defendants during

the Class Period and was injured as a result of Defendants’ anticompetitive conduct alleged herein.

Plaintiff Jerry Jacobson is referred to herein as the “Minnesota Plaintiff.”

       19.     Plaintiff Tina Porter is an individual and resident of Rockingham County, North

Carolina. During the Class Period defined below, Plaintiff Tina Porter transacted FX Instruments

directly with an FX broker that transacted those FX Instruments directly with one or more

Defendants. Specifically, Plaintiff Tina Porter engaged in FX spot transactions directly from an

FX broker where the FX broker purchased those FX Instruments directly from Defendants

including JPMorgan, Morgan Stanley, and RBS. As a result of Defendants’ illegal conduct

described herein, the FX broker paid artificially inflated prices for FX Instruments purchased

directly from Defendants and Defendants’ co-conspirators, and passed on those overcharges on




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FX Instruments to its customers, including Plaintiff Tina Porter. Thus, Plaintiff Tina Porter

indirectly purchased FX Instruments from one or more Defendants during the Class Period and

was injured as a result of Defendants’ anticompetitive conduct alleged herein.

       20.     Plaintiff Paul Vermillion is an individual and resident of Guilford County, North

Carolina. During the Class Period defined below, Plaintiff Paul Vermillion transacted FX

Instruments with several FX brokers, all of which entered into those FX Instruments directly with

one or more Defendants. Specifically, Plaintiff Paul Vermillion engaged in FX spot transactions

with currency pairs including EUR/USD, USD/CAD, GBP/USD, AUD/USD, and EUR/JPY

directly with FX brokers where the FX brokers transacted those FX Instruments directly with

Defendants including Barclays, BNP Paribas, Citigroup, Credit Suisse, Deutsche Bank, Goldman

Sachs, HSBC, JPMorgan, Morgan Stanley, RBC, RBS, SocGen, Standard Chartered, and UBS.

As a result of Defendants’ illegal conduct described herein, those FX brokers paid artificially

inflated prices for FX Instruments purchased directly from Defendants and Defendants’ co-

conspirators, and passed on those overcharges on FX Instruments to their customers, including

Plaintiff Paul Vermillion. Thus, Plaintiff Paul Vermillion indirectly purchased FX Instruments

from one or more Defendants during the Class Period and was injured as a result of Defendants’

anticompetitive conduct alleged herein. Plaintiffs Tina Porter and Paul Vermillion are collectively

referred to herein as the “North Carolina Plaintiffs.”

       21.     Bank of America: Defendant Bank of America Corporation is a Delaware

corporation headquartered at 100 North Tryon Street, Charlotte, North Carolina 28255. Bank of

America Corporation is a multi-national banking and financial services corporation, with its

investment banking division located at the Bank of America Tower, One Bryant Park, 1111

Avenue of the Americas, New York, New York 10036. Defendant Bank of America, N.A. is a




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federally chartered national banking association headquartered at 101 South Tyron Street,

Charlotte, North Carolina 28255, and is an indirect, wholly-owned subsidiary of Bank of America

Corporation. Defendant Merrill Lynch, Pierce, Fenner & Smith Inc. is a Delaware corporation

with its headquarters at One Bryant Park, New York, New York 10036, and is a wholly-owned

subsidiary of Bank of America Corporation. Defendants Bank of America Corporation, Bank of

America, N.A., and Merrill Lynch, Pierce, Fenner & Smith Inc. are referred to collectively in this

Complaint as “Bank of America.”

       22.     BTMU: Defendant The Bank of Tokyo Mitsubishi UFJ Ltd. (“BTMU”) is a

Japanese company headquartered in Tokyo, Japan. BTMU’s New York Branch is BTMU’s

“traditional hub” for FX trading, and is headquartered at 1251 Avenue of the Americas, New York,

New York 10002. BTMU is registered with the New York Department of Financial Services

(“NYDFS”) as a foreign bank licensed to do business in New York through the BTMU New York

Branch. At year-end 2013, BTMU reported for its New York branch gross notional outstanding

spot FX contracts of $2.4 billion and FX derivatives of $69.8 billion, for a total of $72.2 billion.

See FOREX, 2016 WL 1268267, at *6 (S.D.N.Y. Mar. 31, 2016) (denying BTMU’s motion to

dismiss for lack of personal jurisdiction).

       23.     Barclays: Defendant Barclays Bank PLC is a British public limited company

headquartered in London, England. Barclays Bank PLC is licensed by the NYDFS with a

registered address at 745 Seventh Avenue, New York, New York 10019. Defendant Barclays

Capital Inc. is a wholly-owned subsidiary of Barclays Bank PLC and engages in investment

banking, wealth management, and investment management services. Barclays Capital Inc. is

headquartered at 745 7th Avenue, New York, New York 10019. Defendants Barclays Bank PLC

and Barclays Capital Inc. are referred to collectively in this Complaint as “Barclays.”




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       24.     BNP Paribas: Defendant BNP Paribas Group is a French bank and financial

services company headquartered in Paris, France. BNP Paribas Group is licensed by the NYDFS

with a registered address at 787 Seventh Avenue, New York, New York 10019. BNP Paribas

North America, Inc. is a Delaware corporation headquartered at 787 Seventh Avenue, New York,

New York 10019. BNP Paribas North America, Inc. provides corporate, investment banking, and

securities brokerage services, and is an affiliate of BNP Paribas Group. Defendant BNP Paribas

Securities Corp. is a Delaware corporation with its principal place of business in New York, New

York. BNP Paribas Securities Corp. is a wholly-owned subsidiary of BNP Paribas North America,

Inc. BNP Paribas Prime Brokerage, Inc. is a Delaware corporation with its principal place of

business in New York, New York. Defendants BNP Paribas Group, BNP Paribas North America,

Inc., BNP Paribas Securities Corp., and BNP Prime Brokerage, Inc. are referred to collectively in

this Complaint as “BNP Paribas.”

       25.     Citigroup: Defendant Citigroup Inc. is a Delaware corporation headquartered at

399 Park Avenue, New York, New York 10022. Defendant Citibank, N.A. is a federally chartered

national banking association headquartered at 399 Park Avenue, New York, New York 10022 and

is a wholly-owned subsidiary of Defendant Citigroup Inc. Defendant Citicorp is a financial

services holding company organized and existing under the laws of Delaware.           Defendant

Citigroup Global Markets Inc. is a wholly-owned subsidiary of Citigroup Inc., organized and

existing under the laws of New York and headquartered at 390 Greenwich Street, New York, New

York 10013. Defendants Citigroup Inc., Citibank, N.A., Citicorp, and Citigroup Global Markets

Inc. are referred to collectively in this Complaint as “Citigroup.”

       26.     Credit Suisse: Defendant Credit Suisse Group AG is a Swiss holding company

headquartered in Zurich, Switzerland. Defendant Credit Suisse AG is a wholly-owned subsidiary




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of Credit Suisse Group AG and is a bank organized under the laws of Switzerland, with its principal

place of business located in Zurich, Switzerland. Credit Suisse AG is licensed by the NYDFS and

operates a foreign branch with a registered address at 11 Madison Avenue, New York, New York

10010. Defendant Credit Suisse Securities (USA) LLC is a Delaware limited liability company

headquartered at 11 Madison Avenue, New York, New York 10010, and is a wholly-owned

subsidiary of Credit Suisse Group AG. Defendants Credit Suisse Group AG, Credit Suisse AG,

and Credit Suisse Securities (USA) LLC are referred to collectively in this Complaint as “Credit

Suisse.”

       27.     Deutsche Bank: Defendant Deutsche Bank AG is a German financial services

company headquartered in Frankfurt, Germany. Deutsche Bank AG is licensed by the NYDFS

with a registered address at 60 Wall Street, 4th Floor, New York, New York 10005. Defendant

Deutsche Bank Securities Inc. is a Delaware corporation with its principal place of business at 60

Wall Street, New York, New York, 10005. Deutsche Bank Securities Inc. is an indirect, wholly-

owned subsidiary of Deutsche Bank AG. Defendants Deutsche Bank AG and Deutsche Bank

Securities Inc. are referred to collectively in this Complaint as “Deutsche Bank.”

       28.     Goldman Sachs: Defendant The Goldman Sachs Group, Inc. is a Delaware

corporation headquartered at 200 West Street, New York, New York 10282. The Goldman Sachs

Group, Inc. is a bank holding company and a financial holding company. Defendant Goldman,

Sachs & Co. is a wholly-owned subsidiary of The Goldman Sachs Group, Inc. and is its principal

operating subsidiary in the United States. Goldman, Sachs & Co. is located at 200 West Street,

New York, New York 10282. Defendants The Goldman Sachs Group, Inc. and Goldman, Sachs

& Co. are referred to collectively in this Complaint as “Goldman Sachs.”




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       29.     HSBC: Defendant HSBC Holdings PLC is a United Kingdom public limited

company headquartered in London, England. Defendant HSBC Bank PLC is a wholly-owned

subsidiary of HSBC Holdings PLC, and is also a United Kingdom public limited company

headquartered in London, England. Defendant HSBC North America Holdings, Inc. is a Delaware

corporation headquartered at 452 5th Avenue, New York, New York 10018, and is a wholly-owned

subsidiary of HSBC Holdings PLC. Defendant HSBC North America Holdings, Inc. is the holding

company for HSBC Holdings PLC’s operations in the United States. Defendant HSBC Bank USA,

N.A. is a national banking association with its principal place of business in New York, New York,

and is an indirect wholly-owned subsidiary of HSBC North America Holdings, Inc. Defendant

HSBC Securities (USA) Inc. is a Delaware corporation with its principal place of business at 452

Fifth Avenue, New York, NY, United States. Defendants HSBC Holdings PLC; HSBC Bank

PLC; HSBC North America Holdings, Inc.; HSBC Bank USA, N.A.; and HSBC Securities (USA)

Inc. are referred to collectively in this Complaint as “HSBC.”

       30.     JPMorgan: Defendant JPMorgan Chase & Co. is a Delaware corporation

headquartered at 270 Park Avenue, 38th Floor, New York, New York 10017.                Defendant

JPMorgan Chase Bank, N.A. is a federally-chartered national banking association, also

headquartered at 270 Park Avenue, 38th Floor, New York, New York 10017, and is a wholly-

owned subsidiary of Defendant JPMorgan Chase & Co. Defendants JPMorgan Chase & Co. and

JPMorgan Chase Bank, N.A. are referred to collectively in this Complaint as “JPMorgan.”

       31.     Morgan Stanley: Defendant Morgan Stanley is a Delaware corporation

headquartered at 1585 Broadway, New York, New York 10036. Defendant Morgan Stanley &

Co., LLC is a limited liability company organized and existing under the laws of Delaware, with

its principal place of business in New York, New York. Morgan Stanley & Co., LLC is a wholly-




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owned subsidiary of Morgan Stanley. Defendant Morgan Stanley & Co. International plc is a

United Kingdom public limited company with headquarters in London, England. Defendants

Morgan Stanley; Morgan Stanley & Co., LLC; and Morgan Stanley & Co. International plc are

referred to collectively in this Complaint as “Morgan Stanley.”

       32.     RBC: Defendant RBC Capital Markets LLC (“RBC”) is a limited liability

company incorporated in Minnesota, with its principal place of business and headquarters located

at Three World Financial Center, 200 Vesey Street, 5th Floor, New York, New York 10281. Prior

to 2010, RBC was RBC Capital Markets Corporation, which was also a Minnesota corporation

headquartered in New York, New York.

       33.     RBS: Defendant Royal Bank of Scotland Group PLC is a United Kingdom public

limited company headquartered in Edinburgh, Scotland. Defendant Royal Bank of Scotland Group

PLC is licensed by the NYDFS with a registered address at 1095 Avenue of the Americas, New

York, New York 10036. Defendant RBS Securities Inc. is a Delaware corporation headquartered

at 600 Washington Boulevard, Stamford, Connecticut 06901. Defendants Royal Bank of Scotland

Group PLC and RBS Securities, Inc., are referred to collectively in this Complaint as “RBS.”

       34.     SocGen: Defendant Société Générale S.A. (“SocGen”) is a financial services

company headquartered in Paris, France. SocGen’s New York Branch is headquartered at 1221

Avenue of the Americas, New York, New York 10020. SocGen is licensed by the NYDFS with a

registered address of 245 Park Avenue, New York, New York 10167. One of the SocGen New

York Branch’s “primary activities” is the sale of FX Instruments, and its heads of emerging market

FX trading and G10 FX trading are based in New York. At year-end 2013, SocGen reported for

its New York branch gross notional outstanding spot FX contracts of approximately $13 million

and FX derivatives of $21.6 billion. See id. (denying SocGen’s motion to dismiss the FX direct




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purchaser complaint against SocGen for lack of personal jurisdiction). According to SocGen’s

Twitter bio, SocGen opened its first office in the United States in 1938 and “is one of the largest

foreign banking organizations in the US.”

       35.     Standard Chartered: Defendant Standard Chartered Bank (“Standard Chartered”)

is incorporated under the laws of England and Wales, with headquarters in London, England.

Standard Chartered is licensed by the NYDFS with a registered address at 1095 Avenue of the

Americas, New York, New York 10036. Standard Chartered’s New York Branch, located at 1095

Avenue of the Americas, New York, New York 10036, is the headquarters for Standard

Chartered’s “Americas” business and “primarily conducts a U.S. dollar clearing business,”

including the sale of FX Instruments. At year-end 2013, Standard Chartered Bank reported for its

New York branch gross notional outstanding spot FX contracts of $1.9 billion and FX derivatives

of $141.4 billion. See id. (granting motion to dismiss the FX direct purchaser complaint for lack

of personal jurisdiction as to Standard Chartered Bank’s parent company Standard Chartered plc,

which does not conduct business in New York, but permitting an application to substitute Standard

Chartered Bank as a defendant).

       36.     UBS: Defendant UBS AG is a Swiss company based in Basel and Zurich,

Switzerland, and is a wholly-owned subsidiary of Defendant UBS Group AG. Defendant UBS

Group AG is a Swiss company headquartered in Zurich, Switzerland. Defendant UBS Securities

LLC is a Delaware limited liability company headquartered at 677 Washington Blvd, Stamford,

Connecticut 06901, and is a wholly-owned subsidiary of UBS AG. Defendants UBS AG, UBS

Group AG, and UBS Securities LLC are referred to collectively in this Complaint as “UBS.”

       37.     “Defendant” or “Defendants,” as used herein, includes all Defendants named

specifically above, as well as all of the named Defendants’ predecessors, direct or indirect parents,




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subsidiaries, or divisions, including entities that merged with or were acquired by the named

Defendants that played a material role in the unlawful acts alleged in this Complaint.

        38.      Whenever reference is made to any act of any corporation, the allegation means

that the corporation engaged in the act by or through its directors, officers, employees, or agents

while they were actively engaged in the management, direction, control, or transaction of the

corporation’s business or affairs.

        39.      Various other persons, firms, and corporations, that are unknown and not named as

Defendants, have participated as co-conspirators with Defendants and have performed acts and/or

made statements in furtherance of the conspiracy. Defendants are jointly and severally liable for

the acts of their co-conspirators, whether named or not the co-conspirators are named as

Defendants in this Complaint. “Co-conspirators,” as used herein, includes direct or indirect

parents, subsidiaries, and divisions of all co-conspirator entities.

                                   CLASS ACTION ALLEGATIONS

        40.      Plaintiffs bring this action individually and as a class action pursuant to Rules 23(a)

and (b)(2) of the Federal Rules of Civil Procedure, seeking equitable and injunctive relief, on

behalf of the following proposed nationwide indirect purchaser class (the “Nationwide Class”):

        Nationwide Class: All persons and entities who, between December 1, 2007 and
        December 31, 2013 (inclusive) (the “Class Period”), indirectly purchased an FX
        Instrument 3 from a Defendant or co-conspirator in the United States and/or while
        domiciled in the United States, by entering into an FX Instrument with a member of the
        Direct Settlement Class, 4 where the Direct Settlement Class member entered into the FX
        Instrument directly with a Defendant or co-conspirator.

3
 See supra note 2.
4
 “Direct Settlement Class” refers to the class of direct purchasers who purchased an FX Instrument directly from one
or more Defendants or co-conspirators, which was granted preliminarily class certification for settlement purposes in
FOREX, ECF No. 536 (“Preliminary Approval Order”). The Preliminary Approval Order defines the Direct
Settlement Class as:

        All Persons who, between January 1, 2003 and the date of the Preliminary Approval Order, entered into an
        FX Instrument directly with a Defendant, a direct or indirect parent, subsidiary, or division of a Defendant,
        a Released Party, or coconspirator where such Persons were either domiciled in the United States or its


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         41.      The Arizona Plaintiff also brings this action individually and as a class action

pursuant to Rules 23(a) and (b)(3) of the Federal Rules of Civil Procedure, seeking damages

pursuant to Arizona antitrust law on behalf the following proposed Arizona indirect purchaser

class or subclass (the “Arizona Class”):

         Arizona Class: All persons and entities who, during the Class Period, indirectly purchased
         an FX Instrument from a Defendant or co-conspirator in Arizona and/or while domiciled
         in Arizona, by entering into an FX Instrument with a member of the Direct Settlement
         Class, where the Direct Settlement Class member entered into the FX Instrument directly
         with a Defendant or co-conspirator.

         42.      The California Plaintiffs also bring this action individually and as a class action

pursuant to Rules 23(a) and (b)(3) of the Federal Rules of Civil Procedure, seeking damages

pursuant to California antitrust and consumer protection laws on behalf the following proposed

California indirect purchaser class or subclass (the “California Class”):

         California Class: All persons and entities who, during the Class Period, indirectly
         purchased an FX Instrument from a Defendant or co-conspirator in California and/or while
         domiciled in California, by entering into an FX Instrument with a member of the Direct
         Settlement Class, where the Direct Settlement Class member entered into the FX
         Instrument directly with a Defendant or co-conspirator.

         territories or, if domiciled outside the United States or its territories, transacted FX Instruments in the United
         States or its territories. Specifically excluded from the Direct Settlement Class are Defendants; Released
         Parties; co-conspirators; the officers, directors, or employees of any Defendant, Released Party, or co-
         conspirator; any entity in which any Defendant, Released Party, or co-conspirator has a controlling interest;
         any affiliate, legal representative, heir, or assign of any Defendant, Released Party, or co-conspirator and any
         person acting on their behalf; provided, however, that Investment Vehicles shall not be excluded from the
         definition of the Direct Settlement Class. Also excluded from the Direct Settlement Class are any judicial
         officer presiding over this action and the members of his/her immediate family and judicial staff, and any
         juror assigned to this Action.

See also infra at Factual Allegations, Section V (“Direct Purchaser Litigation and Settlements”). The Preliminary
Approval Order also certified an “Exchange-Only Settlement Class” comprised of persons and entities that entered
into an FX Exchange-Traded Instrument directly on a U.S. exchange. Although the Direct Class Settlement and the
Exchange-Only Class Settlement (collectively, the “Direct/Exchange-Only Settlements”) were entered into only
between the Direct Purchaser Class Plaintiffs and the “Settling Defendants,” the Direct Settlement Class is defined to
include all direct purchasers who entered into an FX instrument with any Defendant named in FOREX, including the
“Non-Settling Defendants.” See, e.g., FOREX, ECF No. 653-2 (Direct Purchaser Class Plaintiffs' Proposed Notice)
(defining “Settling Defendants” and “Non-Settling Defendants” collectively as “Defendants”). The Defendants
referred to in the Direct Settlement Class definition (including both the Settling Defendants and the Non-Settling
Defendants) are identical to the Defendants named in this Complaint.


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       43.     The Florida Plaintiffs also bring this action individually and as a class action

pursuant to Rules 23(a) and (b)(3) of the Federal Rules of Civil Procedure, seeking damages

pursuant to Florida consumer protection law on behalf the following proposed Florida indirect

purchaser class or subclass (the “Florida Class”)

       Florida Class: All persons and entities who, during the Class Period, indirectly purchased
       an FX Instrument from a Defendant or co-conspirator in Florida and/or while domiciled in
       Florida, by entering into an FX Instrument with a member of the Direct Settlement Class,
       where the Direct Settlement Class member entered into the FX Instrument directly with a
       Defendant or co-conspirator.

       44.     The Illinois Plaintiff also brings this action individually and as a class action

pursuant to Rules 23(a) and (b)(3) of the Federal Rules of Civil Procedure, seeking damages

pursuant to Illinois antitrust law on behalf the following proposed Illinois indirect purchaser class

or subclass (the “Illinois Class”):

       Illinois Class: All persons and entities who, during the Class Period, indirectly purchased
       an FX Instrument from a Defendant or co-conspirator in Illinois and/or while domiciled in
       Illinois, by entering into an FX Instrument with a member of the Direct Settlement Class,
       where the Direct Settlement Class member entered into the FX Instrument directly with a
       Defendant or co-conspirator.

       45.     The Massachusetts Plaintiff also brings this action individually and as a class action

pursuant to Rules 23(a) and (b)(3) of the Federal Rules of Civil Procedure, seeking damages

pursuant to Massachusetts consumer protection law on behalf the following proposed

Massachusetts indirect purchaser class or subclass (the “Massachusetts Class”):

       Massachusetts Class: All persons and entities who, during the Class Period, indirectly
       purchased an FX Instrument from a Defendant or co-conspirator in Massachusetts and/or
       while domiciled in Massachusetts, by entering into an FX Instrument with a member of the
       Direct Settlement Class, where the Direct Settlement Class member entered into the FX
       Instrument directly with a Defendant or co-conspirator.

       46.     The Minnesota Plaintiff also brings this action individually and as a class action

pursuant to Rules 23(a) and (b)(3) of the Federal Rules of Civil Procedure, seeking damages



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pursuant to Minnesota antitrust law on behalf the following proposed Minnesota indirect purchaser

class or subclass (the “Minnesota Class”):

        Minnesota Class: All persons and entities who, during the Class Period, indirectly
        purchased an FX Instrument from a Defendant or co-conspirator in Minnesota and/or while
        domiciled in Minnesota, by entering into an FX Instrument with a member of the Direct
        Settlement Class, where the Direct Settlement Class member entered into the FX
        Instrument directly with a Defendant or co-conspirator.

        47.     The North Carolina Plaintiffs also bring this action individually and as a class action

pursuant to Rules 23(a) and (b)(3) of the Federal Rules of Civil Procedure, seeking damages

pursuant to North Carolina antitrust law on behalf the following proposed North Carolina indirect

purchaser class or subclass (the “North Carolina Class”):

        North Carolina Class: All persons and entities who, during the Class Period, indirectly
        purchased an FX Instrument from a Defendant or co-conspirator in North Carolina and/or
        while domiciled in North Carolina, by entering into an FX Instrument with a member of
        the Direct Settlement Class, where the Direct Settlement Class member entered into the
        FX Instrument directly with a Defendant or co-conspirator.

        48.     The proposed New York, Arizona, California, Florida, Illinois, Massachusetts,

Minnesota, and North Carolina Classes are referred to collectively herein as the “State Classes.”

The proposed Nationwide Classes and State Classes are referred to collectively herein as the

“Classes.”

        49.     Excluded from the Classes are Defendants and their co-conspirators; the officers,

directors, and employees of any Defendant or co-conspirator; any entity in which any Defendant

or co-conspirator has a controlling interest; any affiliate, legal representative, heir, or assign of any

Defendant or co-conspirator; federal, state, and municipal government entities and agencies; any

judicial officer presiding over this action and the members of his/her immediate family and judicial

staff; and any juror assigned to this action.




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        50.       Also excluded from the Classes are all indirect purchases of FX Instruments where

the direct purchaser was operating outside of the U.S. at the time the direct purchase was made

and the purchase was made with the foreign desk of a Defendant.

        51.       While Plaintiffs do not know the exact number of the members of the proposed

Classes, Plaintiffs believe there are (at least) thousands of members in each Class. The Classes

are readily ascertainable from existing records of members of the Direct Settlement Class.

        52.       Plaintiffs’ claims are typical of the claims of the members of the Classes. Plaintiffs

and members of the Classes sustained damages arising out of Defendants’ common course of

conduct in violation of federal antitrust laws, state antitrust laws, and state consumer protection

laws.

        53.       Common questions of law and fact exist as to all members of the Classes. This is

particularly true given the nature of Defendants’ and their co-conspirators’ conspiracy, which was

generally applicable to all members of the Classes, thereby making appropriate relief with respect

to each Class as a whole. Such questions of law and fact common to the Classes include, but are

not limited to:

                  a.     Whether Defendants and their co-conspirators engaged in a combination

and conspiracy among themselves to fix, raise, maintain, or stabilize the prices of FX Instruments

sold in the United States;

                  b.     The identities of the participants of the alleged conspiracy;

                  c.     The duration of the alleged conspiracy and the acts carried out by

Defendants and their co-conspirators in furtherance of the conspiracy;

                  d.     Whether the alleged conspiracy violated the Sherman Act, 15 U.S.C. § 1, as

alleged in the First Claim for Relief;




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                e.      Whether the alleged conduct of Defendants and their co-conspirators caused

injury to Plaintiffs and the members of the Classes;

                f.      The effects of the alleged conspiracy on the prices of FX Instruments sold

in the United States during the Class Period;

                g.      Whether Plaintiffs and the members of the Classes had any reason to know

or suspect the conspiracy, or any means to discover the conspiracy;

                h.      Whether Defendants and their co-conspirators fraudulently concealed the

conspiracy’s existence from Plaintiffs and the members of the Classes;

                i.      The appropriate injunctive and related equitable relief for the Nationwide

Classes;

                j.      For the New York Class, whether the alleged conspiracy violated New York

General Business Laws § 340, et seq. (the Donnelly Act), as alleged in the Second Claim for Relief,

and the appropriate class-wide measures of damages and injunctive and related equitable relief for

such violations;

                k.      For the Arizona Class, whether the alleged conspiracy violated Arizona

Revised Statutes, §§ 44-1401, et seq. (the Arizona Antitrust Act), as alleged in the Third Claim for

Relief, and the appropriate class-wide measures of damages and injunctive and related equitable

relief for such violations;

                l.      For the California Class, whether the alleged conspiracy violated California

Business and Professions Code § 16720, et seq. (the Cartwright Act), as alleged in the Fourth

Claim for Relief, and the appropriate class-wide measures of damages and injunctive and related

equitable relief for such violations;




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               m.      For the California Class, whether the alleged conspiracy violated California

Business and Professions Code § 17200, et seq. (California’s Unfair Competition Law), as alleged

in the Fifth Claim for Relief, and the appropriate class-wide measures of damages and injunctive

and related equitable relief for such violations;

               n.      For the Florida Class, whether the alleged conspiracy violated Fla. Stat. §

501.201, et seq. (the Florida Deceptive and Unfair Trade Practices Act), as alleged in the Sixth

Claim for Relief, and the appropriate class-wide measures of damages and injunctive and related

equitable relief for such violations;

               o.      For the Illinois Class, whether the alleged conspiracy violated 740 Ill.

Comp. Stat. 10/1, et seq. (the Illinois Antitrust Act), as alleged in the Seventh Claim for Relief,

and the appropriate class-wide measures of damages and injunctive and related equitable relief for

such violations;

               p.      For the Massachusetts Class, whether the alleged conspiracy violated Mass.

Gen. Laws ch. 93A, §1 et seq. (the Massachusetts Consumer Protection Act), as alleged in the

Eighth Claim for Relief, and the appropriate class-wide measures of damages and injunctive and

related equitable relief for such violations; and

               q.      For the Minnesota Class, whether the alleged conspiracy violated Minn.

Stat. §§ 325D.49 to 325D.66 (the Minnesota Antitrust Law of 1971), as alleged in the Ninth Claim

for Relief, and the appropriate class-wide measures of damages and injunctive and related

equitable relief for such violations.

               r.      For the North Carolina Class, whether the alleged conspiracy violated N.C.

Gen. Stat. § 75-1, et seq. (the North Carolina Unfair Trade Practice Act), as alleged in the Tenth




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Claim for Relief, and the appropriate class-wide measures of damages and injunctive and related

equitable relief for such violations.

       54.      Plaintiffs’ claims are typical of the claims of the members of the Classes, and

Plaintiffs will fairly and adequately protect the interests of the Classes. Plaintiffs and all members

of the Classes were similarly affected by Defendants’ wrongful conduct in that they were

overcharged for FX Instruments purchased indirectly from Defendants and/or Defendants’ co-

conspirators.

       55.      Plaintiffs’ claims arise out of the same common course of conduct giving rise to the

claims of the other members of the Classes. Plaintiffs’ interests are coincident with, and not

antagonistic to, those of the other members of the Classes. Plaintiffs are represented by counsel

who are competent and experienced in the prosecution of antitrust and class action litigation.

       56.      The questions of law and fact common to the members of the Classes predominate

over any questions affecting only individual members, including legal and factual issues relating

to liability and damages.

       57.      Class action treatment is the superior method for the fair and efficient adjudication

of the controversy, in that, among other things, such treatment will permit a large number of

similarly situated persons to prosecute their common claims in a single forum simultaneously,

efficiently, and without the unnecessary duplication of evidence, effort and expense that numerous

individual actions would engender.      The benefits of proceeding through the class mechanism,

including providing injured persons or entities with a method for obtaining redress for claims that

might not be practicable to pursue individually, substantially outweigh any difficulties that may

arise in the management of this class action.




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       58.     The prosecution of separate actions by individual members of the Classes would

create a risk of inconsistent or varying adjudications, establishing incompatible standards of

conduct for the Defendants.

                                  FACTUAL ALLEGATIONS

I.     OVERVIEW OF THE FX MARKET

       A.      Background

       59.     The FX market is the global financial market in which currencies are traded. It is

the largest, most actively traded, and most liquid financial market in the world. Global FX trading

grew from an average of $1.9 trillion per day in April 2004 to $5.3 trillion per day in April 2013.

According to a report by the Bank for International Settlements (BIS), this rapid growth in trading

volume was due in part to increased market participation by “the emergence of retail investors,”

including individuals and smaller institutions.

       60.     There are over 200 different currencies used around the world, each with a distinct

three-letter currency code used by FX traders. The ten most heavily traded currencies in the

world—called the “Group of 10,” or “G10” currencies—are the U.S. dollar (USD), the Canadian

dollar (CAD), the euro (EUR), the British pound (GBP), the Swiss franc (CHF), the New Zealand

dollar (NZD), the Australian dollar (AUD), the Japanese yen (JPY), the Norwegian krone (NOK),

and the Swedish krona (SEK).

       61.     The market for facilitating and executing FX trades is highly concentrated. A large

majority of all FX trades are transacted by Defendants. Other market participants include smaller

dealer banks, central banks, smaller commercial banks, credit card companies and their customers,

non-financial corporations, insurance companies, investment funds, and individual investors.

       62.     The FX traders employed by Defendants were part of a geographically and socially

concentrated group. They lived in close proximity, attended the same social gatherings, and


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communicated frequently. The close social and professional ties among FX traders facilitated and

provided incentives for the conspiracy alleged herein.          As one former Citigroup trader

acknowledged, “[t]his is a market in which price fixing and collusion could actually work.”

       63.     FX trades may be conducted either over-the-counter (“OTC”) directly with another

party, or on a centralized exchange. During the Class Period, approximately 98 percent of FX

trading occurred OTC, and a majority of those trades involved one or more Defendants. The

remaining 2 percent of all FX trades during the Class Period were made on U.S. exchanges.

       64.     The OTC FX market is open and actively traded 24 hours a day during the week.

The FX market opens Monday at 7 a.m. local time in New Zealand. One hour later, Sydney opens,

followed by Tokyo, Hong Kong, and Singapore. Later, trading shifts to Europe, where the main

financial centers are London, Frankfurt, Zürich, Geneva, Paris, and Milan. New York and London

(the two largest FX trading centers) are open simultaneously for four hours, between 8:00 a.m. and

12:00 p.m. U.S. Eastern Time (“ET”), which is between 1:00 p.m. and 5:00 p.m. London time.

The New York FX market is open from 8:00 a.m. ET to 5:00 p.m. ET, and London is open from

3:00 a.m. to 12:00 p.m. ET.

       65.     FX market centers officially close at 5:00 p.m. local time, but the market does not

close during the week because, except on Friday, the new trading day starts immediately in other

cities. With the advent of electronic trading, it is possible to place FX trades over the weekends.

       66.     Like the OTC market, trading on centralized U.S. financial exchanges is available

24 hours a day. The two most actively traded U.S. FX exchanges are the Chicago Mercantile

Exchange (“CME”) and the Intercontinental Exchange (“ICE”).

       67.     Currencies are bought or sold in “currency pairs” of two different currencies. The

price to buy or sell a given currency pair is reflected by its exchange rate. For example, EUR/USD




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refers to the exchange rate for the purchase or sale of euros in exchange for U.S. dollars. In April

2013, the four most-traded currency pairs were EUR/USD (24.1 percent of all net FX trade

volume), USD/JPY (18.3 percent), GBP/USD (8.8 percent), and AUD/USD (6.8 percent).

Approximately 86.9 percent of daily FX trading in April 2013 had the U.S. dollar on one side of

the currency pair.

        68.     The advent of electronic FX trading has had a substantial impact on the FX market.

Although large bank dealers such as Defendants still account for a large majority of all trades,

electronic trading has enabled smaller companies and individuals to trade FX. Electronic trading

also enabled traders to employ new FX trading strategies. Large, sophisticated traders have

employed strategies such as rapid-fire arbitrage and algorithmic trading. Electronic trading also

enhanced the ability of Defendants and co-conspirators to collusively manipulate FX benchmark

rates, as alleged herein.

        69.     Traders in the FX market engage in several types of transactions. According to the

BIS, the four most common types of FX transactions are:

                a.      Spot transaction – an agreement to exchange sums of currency at an
                        agreed-upon exchange rate on a value date that is within two business days’
                        time;

                b.      Forward outright transaction – an agreement to exchange sums of
                        currency at an agreed-upon exchange rate on a value date that will be in
                        more than two business days’ time;

                c.      Forward swap – a spot transaction plus a forward outright transaction, at a
                        different exchange rate and in the reverse direction; and

                d.      Currency option – a “put” or a “call” option contract on a specified
                        quantity of FX. A “put” option contract gives the owner the right to sell a
                        specified quantity of currency at a specified exchange rate. A “call” option
                        contract gives the holder the right to buy a specified quantity of currency at
                        a specified rate.




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       70.     In 2013, forward swaps accounted for 42 percent of the total FX trade volume. Spot

transactions accounted for 38 percent, forward outrights accounted for 13 percent, and currency

options and other FX transactions accounted for 7 percent.

       71.     Spot transactions occur in the private OTC market, which is dominated by

Defendants. To initiate a spot transaction, a customer contacts a dealer bank, such as one of the

Defendants, for a quote. These dealer banks are known as “market makers” or “liquidity

providers.”

       72.     A spot transaction occurs when one party contacts a dealer for a “bid-ask” quote on

a designated quantity of currency, and the party accepts the dealer’s quote. The “bid” is the price

at which the dealer is willing to buy a given quantity of currency, and the “ask” is the price at

which the dealer is willing to sell the same quantity of currency. FX dealers provide exchange rate

quotes on demand.

       73.     Dealers generally provide quotes for USD and EUR to four decimal points, with

the final digit known as a “percentage in point” or “pip.” For example, suppose EUR/USD is

quoted 1.1952-1.1954 on $10 million. The first number, 1.1952, is the bid, and the second, 1.1954,

is the ask. The party receiving the quote can either sell $10 million USD and receive €8,366,800.54

EUR ($1.1952 per Euro) in exchange, or purchase $10 million USD for €8,365,400.70 EUR

($1.1954 per Euro).

       74.     The difference between the bid and the ask is called the “bid-ask spread.” The bid-

ask spread enables FX dealers to profit from FX trades by buying and selling FX at different

exchange rates.

       75.     FX traders can execute FX spot transactions by a direct telephone call, by sending

an electronic request to a dealer, or through an electronic trading system. Electronic trading




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systems are computer trading platforms that customers can use to execute orders with dealers over

a network. Electronic trading systems can be proprietary platforms operated by a single dealer, or

a multi-bank platforms that allows customers to trade with multiple dealers. Major multi-bank FX

trading platforms include Reuters, Bloomberg, EBS, Hotspot, and Currenex.

       76.      Dealer banks employ salespeople to interact with customers through electronic

platforms, electronic messages, and telephone calls. Dealer banks also employ FX currency

traders to oversee bid-ask quotes and process trades. A dealer’s salespeople and traders are in

constant communication. Salespeople inform the traders of incoming potential orders, confirm

bid-ask quotes, and convey orders to the trading desk for processing. Traders receive information

about potential and pending trades before the trades are actually processed. Traders also record

and analyze their customers’ trading histories. As a result, dealers can often predict a customer’s

trading patterns, even before a customer places an order.

       77.      Entities that trade FX Instruments directly with dealer banks often resell those

instruments to individual and non-dealer entity customers. These entities are often referred to as

“FX brokers” or “retail foreign exchange dealers” (“RFEDs”). Retail FX customers trade FX

Instruments with RFEDs for a variety of purposes, including long and short-term investing,

portfolio diversification, and to hedge their foreign investments against risks of foreign currency

fluctuations.

       78.      Spot transaction exchange rates are the foundation for pricing of all FX Instruments.

The prices for forward outright trades, forward swap trades, currency option contracts, and all

other FX Instruments are all derived from the underlying FX spot rates.

       79.      Because all FX transactions are affected by spot prices, Defendants’ manipulation

of benchmark spot rates had widespread effects on all FX transactions throughout the Class Period.




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        B.         Benchmark Rates

        80.        In placing FX spot trades, customers often use what are called benchmark rates,

daily fixing rates, or “Fixes.” A Fix is a published exchange rate based on FX trades placed in a

moment in time or a short interval of time. Several Fixes are published by private parties and

central banks. To place an order at a Fix, a customer gives an FX dealer instructions to buy or sell

a quantity of currency at a specific Fix. The dealer guarantees execution at whatever rate the Fix

is later posted.

        81.        The Fixes have widespread effects on all FX transactions. Many businesses—

including credit card companies, consumer banks, and credit unions—determine the rates at which

they sell FX to their customers based on the Fixes.

        82.        Prior to the publishing of the Fixes, customers will place orders with dealers to buy

or sell a specific quantity of FX at a specified Fix. Because these orders are placed in advance of

the fixing rates being published, dealers that accept spot trade orders at the Fixes are exposed to

unexpected movements in currency prices.

        83.        Dealers can take advantage of the interim between the time a customer places a

fixing rate order and the time a Fix is published. If a dealer is able to buy the ordered quantity of

currency at a price that is less than the fixing rate, the dealer profits from the customer’s order.

However, if a dealer pays more than the fixing rate, it loses money on the order.

        84.        Because the Fixes are so widely recognized as benchmark rates in the FX market,

they play a crucial role in FX trading and in the pricing of all FX Instruments.

                   1.     WM/Reuters

        85.        While there are a number of published Fixes available to FX market participants,

the most widely used Fix is the WM/Reuters Closing Spot Rates (the “WM/Reuters Fix” or “4:00

p.m. Fix”), which are set at 4:00 p.m. London time (11:00 a.m. New York time). WM/Reuters is


                                                    31
a joint venture between the WM Company (a wholly-owned subsidiary of State Street Corporation)

and Thomson Reuters Corporation. The WM/Reuters Closing Spot Rates are widely used because

they are set around the time when the FX market is most liquid – near the end of the trading day

in London, while the New York market is also open. WM/Reuters calculates fixing rates for major

currencies every half hour from 6:00 a.m. in Hong Kong/Singapore to 10:00 p.m. in the U.K., and

they publish fixing rates for spot and forward transactions.

       86.     WM/Reuters calculates the 4:00 p.m. Fix based on actual bids and offers placed on

certain electronic trading systems during a one-minute window (“the fix period”). The fix period

begins 30 seconds before 4:00 p.m. London time and ends 30 seconds after. WM/Reuters uses

bids and offers placed on the Currenex, Reuters Dealing 3000, and EBS electronic trading systems.

       87.     The consolidation of trading information and calculation of the 4:00 p.m. Fix rates

is automated. Throughout the Class Period, WM/Reuters calculated the 4:00 p.m. Fix rates based

on the median exchange rates of the FX transactions placed during the fix period, but the volumes

of those trades placed during the fix period were not taken into account. This made the 4:00 p.m.

Fix especially vulnerable to concerted manipulation.

       88.     WM/Reuters also provides fix rates for FX forwards, which are published as

premiums or discounts to the WM/Reuters spot rates. Thus, when the WM/Reuters Fix rates were

manipulated by Defendants, WM/Reuters forward fix rates were also directly affected.

               2.      The ECB Rates

       89.     The European Central Bank (“ECB”) reference rate provides FX spot rate Fixes for

currency pairs that are traded against the euro. After the WM/Reuters Fixes, the ECB reference

rates (“ECB Fix” or “1:15 p.m. Fix”) are the second-most widely used global FX benchmark rate.

       90.     The ECB publishes the exchange rates for various euro-denominated currency

pairs, as determined by the European Central Bank, based on FX spot trades placed at or around


                                                32
1:15 p.m. GMT. For each currency pair, the ECB publishes one rate for the 1:15 p.m. Fix. The

ECB Fixes are published on the ECB’s website shortly after they are calculated.

       C.        The FX Market Is Concentrated and Dominated by Defendants

       91.       Beginning in the late 1990s, the FX market experienced a significant increase in

concentration.

       92.       Defendants dominated the FX market throughout the Class Period, and continue to

do so today. In 2013, Defendants collectively controlled more than 90 percent of the global FX

market. According to the 2012 and 2013 FX Surveys by industry publication EUROMONEY, the

individual and aggregate shares of the global FX market for Defendants and their affiliated

corporations in 2012 and 2013 were, respectively:

                    Defendant                    2012 Market        2013 Market
                                                 Share (Rank)       Share (Rank)
                    Deutsche Bank                 14.57% (1)         15.18% (1)
                    Citigroup                     12.26% (2)         14.90% (2)
                    Barclays                      10.95% (3)         10.24% (3)
                    UBS                           10.48% (4)         10.11% (4)
                    HSBC                           6.72% (5)          6.93% (5)
                    JPMorgan                       6.60% (6)          6.07% (6)
                    RBS                            5.86% (7)          5.62% (7)
                    Credit Suisse                  4.68% (8)          3.70% (8)
                    Morgan Stanley                 3.52% (9)          3.15% (9)
                    Goldman Sachs                 3.12% (10)         2.75% (11)
                    BNP Paribas                   2.63% (11)         2.52% (12)
                    Bank of America               2.41% (12)         3.08% (10)
                    SocGen                        1.76% (13)         1.57% (13)
                    Standard Chartered            0.89% (18)         0.91% (17)
                    RBC                           0.84% (19)         0.88% (18)
                    BTMU                          0.24% (30)         0.31% (23)
                    Defendants’
                    Aggregate Market                 90.86%            90.92%
                    Share:

       93.       The FX market in the U.S. is even more concentrated and dominated by Defendants

than the FX global market. According to the Federal Reserve Bank of New York, the top ten banks



                                                33
in April 2013 were responsible for 98 percent of all FX spot trade volume in the United States, and

the top five banks alone accounted for 80 percent.          According to the Foreign Exchange

Committee’s April 2012 survey of the North American FX market, the five largest FX dealers in

North America had a 75 percent market share for spot transactions, and a 61.2 percent market share

for all forward outright transactions. The next five largest dealers had a 17.7 percent market share

for spot transactions and a 26.5 percent market share for forward outright transactions.

       94.     Traders employed by Defendants have significant influence on the FX market.

Collectively, these traders account for a substantial majority of all FX trades. Defendant traders

are a small, interconnected group. Many have worked with one another in prior trading jobs, and

traders frequently communicate and socialize with traders at other Defendant banks. The strong

familiarity among traders facilitated Defendants’ collusive conduct alleged herein.

       D.      The FX Market Is Susceptible to Collusion

       95.     The global FX market lacks a central organizing body, making it one of the least

regulated financial markets in the world. Most trading takes place in the OTC market, away from

centralized exchanges.

       96.     No centralized exchange or institution publishes real-time trade information for the

OTC market. Defendants’ proprietary dealing platforms allow their traders to view real-time

orders and trade volume data, but Defendants do not make this information available to private

traders. Absent an agreement to collude, each individual Defendant would not have access to

information about other Defendants’ trade orders, and it would be in the economic interest of each

Defendant to keep its own trade data confidential.

       97.     Based on trade volume and price information from FX trades, Defendants can

analyze trading patterns, predict the direction of FX market movements, and exploit that

information. A single dealer can only predict FX trading patterns if it has access to a large sample


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size of FX trading data. Private traders do not have this proprietary trading data, and are therefore

unable to analyze and accurately predict FX trading patterns.

       98.     Defendants’ ability to predict and exploit FX trading patterns substantially grows

when they share confidential trade information with one another.

       99.     Throughout the Class Period, Defendants maintained internal accounts allocable to

individual FX traders, sometimes called “P-books,” that allowed traders to trade and speculate on

FX with bank funds. Revenues generated in an individual trader account accrued to the benefit of

the trader’s employer bank, and those revenues were taken into account by Defendants for

purposes of evaluating and determining each trader’s performance, promotion potential, salary,

and bonuses. Because aggregate trade data from multiple Defendants allows traders to predict and

manipulate the movement of the market around the times of the Fixes, Defendants’ maintenance

of these “P-book” accounts incentivized traders to collude with traders at other Defendant dealers

to manipulate FX rates.

       100.    The sharing of confidential customer FX information by FX traders violates the

Federal Reserve Bank of New York’s “Guidelines for Foreign Exchange Trading Activities.”

However, throughout the Class Period, Defendants lacked adequate procedures and safeguards to

prevent trader collusion.

       101.    Defendant traders involved in the sharing of confidential information to predict and

manipulate FX exchange rates included high-level employees such as the former global head of

FX cash trading at HSBC, the head of HSBC’s FX cash trading operations for Europe, the global

head of spot trading at Barclays, the director of emerging markets FX trading at Barclays, the

director of emerging markets FX trading at BNP Paribas, the head of European spot FX trading at

Citigroup, and the head of FX spot trading at JPMorgan. In several instances where Defendant




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supervisors were explicitly made aware that employees were sharing confidential customer

information, Defendants took no disciplinary action or delayed disciplinary action until several

years later, when Defendants’ knowledge of this conduct was revealed to government investigators

and the public.

         102.     The FX traders employed by Defendants are a small, highly interconnected group.

Even at the largest banks, FX trading desks are typically staffed with less than ten traders, many

of whom have worked previously with their counterparts in other banks.

         103.     With Defendants’ dominant collective market share, a lack of government

regulation, high barriers to entry, institutional incentives for traders to cheat, close social and

professional ties among FX traders, and limited non-dealer access to pricing and trade information,

the unique characteristics of the FX market make it highly susceptible to collusive activity. As a

former Citigroup trader noted, “[t]his is a market in which price fixing and collusion could actually

work.”

II.      DEFENDANTS CONSPIRED TO FIX FX PRICES

         104.     Beginning on or before December 1, 2007, Defendants conspired with one another

to fix prices in the FX market on a daily basis. In furtherance of the conspiracy, Defendants

manipulated the exchange rates of over two dozen of the most frequently traded currency pairs.

         105.     Defendants’ conspiracy involved, inter alia: (1) the fixing of FX bid-ask spreads;

and (2) the fixing of benchmark FX rates, including, but not limited to, the WM/Reuters Fixes and

the ECB Fixes.

         106.     In furtherance of their conspiracy, Defendants: (1) created and participated in chat

rooms and other forms of electronic communication; (2) shared confidential client and proprietary

trading information with other Defendants involved in the conspiracy; (3) coordinated trades with

other Defendants in order to illegally manipulate FX benchmark rates and spot rates; (4) monitored


                                                   36
the trades placed by traders employed by co-conspirator Defendants in order to ensure compliance

with the conspiracy; and (5) used code names, code words, and deliberate misspellings in efforts

to evade detection.

         107.   As a result of Defendants’ conspiracy, Plaintiffs and the members of the proposed

Classes were injured in the form of overcharges on FX Instruments purchased indirectly from one

or more Defendants or co-conspirators during the Class Period.

         A.     Defendants Conspired to Fix Prices and Carried Out the Conspiracy through
                Electronic Communications

         108.   Defendants’ top-level traders held secret online meetings in chat rooms throughout

the Class Period. Plaintiffs are aware of thousands of electronic communications made between

traders employed by dozens of banks, including each Defendant, in which traders coordinated

trades and exchanged information about orders, spreads, exchange rates, and Fixes. For example:

                a.     Bank of America participated in chat rooms discussing the U.S. dollar

(USD), euro (EUR), Japanese yen (JPY), Australian dollar (AUD), Swiss franc (CHF), and South

African rand (ZAR).

                b.     Barclays participated in chat rooms discussing the U.S. dollar (USD), euro

(EUR), British pound (GBP), Japanese yen (JPY), Swiss franc (CHF), Australian dollar (AUD),

Canadian dollar (CAD), Russian ruble (RUB), and South African rand (ZAR).

                c.     BNP Paribas participated in chat rooms discussing the U.S. dollar (USD),

euro (EUR), Japanese yen (JPY), Russian ruble (RUB), Mexican peso (MXN), and Thai baht

(THB).

                d.     BTMU participated in chat rooms discussing the U.S. dollar (USD), euro

(EUR), Japanese yen (JPY), and Swiss franc (CHF).




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              e.       Citigroup participated in chat rooms discussing the U.S. dollar (USD), euro

(EUR), British pound (GBP), Japanese yen (JPY), Australian dollar (AUD), New Zealand dollar

(NZD), and South African rand (ZAR).

              f.       Deutsche Bank participated in chat rooms discussing the U.S. dollar (USD),

euro (EUR), the British pound (GBP), Japanese yen (JPY), Swiss franc (CHF), Australian dollar

(AUD), New Zealand dollar (NZD), Canadian dollar (CAD), Russian ruble (RUB), South African

rand (ZAR), Chinese yuan (CNY), Czech koruna (CZK), Hong Kong dollar (HKD), Singapore

dollar (SGD), Turkish lira (TRY), Indonesian rupiah (IDR), Indian rupee (INR), and South Korean

won (KRW).

              g.       Goldman Sachs participated in chat rooms discussing the U.S. dollar

(USD), euro (EUR), British pound (GBP), and Australian dollar (AUD).

              h.       HSBC participated in chat rooms discussing the U.S. dollar (USD), euro

(EUR), British pound (GBP), Swiss franc (CHF), Russian ruble (RUB), Mexican peso (MXN),

and Thai baht (THB).

              i.       JPMorgan participated in chat rooms discussing the U.S. dollar (USD), euro

(EUR), British pound (GBP), and Swiss franc (CHF).

              j.       Credit Suisse participated in chat rooms discussing the U.S. dollar (USD),

euro (EUR), British pound (GBP), Australian dollar (AUD), Swiss franc (CHF), Czech koruna

(CZK), and South African rand (ZAR).

              k.       Morgan Stanley participated in chat rooms discussing the U.S. dollar

(USD), euro (EUR), British pound (GBP), and Japanese yen (JPY).




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              l.     RBC participated in chat rooms discussing the U.S. dollar (USD), euro

(EUR), Australian dollar (AUD), New Zealand dollar (NZD), Canadian dollar (CAD), Swiss franc

(CHF), and Japanese yen (JPY).

              m.     RBS participated in chat rooms discussing the U.S. dollar (USD), euro

(EUR), British pound (GBP), Japanese yen (JPY), Swiss franc (CHF), Australian dollar (AUD),

and New Zealand dollar (NZD).

              n.     SocGen participated in chat rooms discussing the U.S. dollar (USD), euro

(EUR), Australian dollar (AUD), Polish zloty (PLN), Brazilian real (BRL), Mexican peso (MXN),

Chinese yuan (CNY), Israeli shekel (ILS), and Thai baht (THB).

              o.     Standard Chartered participated in chat rooms discussing the U.S. dollar

(USD), euro (EUR), Japanese yen (JPY), and Brazilian real (BKL).

              p.     UBS participated in chat rooms discussing the U.S. dollar (USD), euro

(EUR), British pound (GBP), Japanese yen (JPY), Swiss franc (CHF), Australian dollar (AUD),

New Zealand dollar (NZD), Canadian dollar (CAD), Chinese yuan (CNY), Singapore dollar

(SGD), South Korean won (KRW), and Taiwan dollar (TWD).

       109.   The secret chat rooms were controlled by Defendants’ top-level traders.

Defendants referred to chat groups with names such as “The Cartel,” “The Bandits’ Club,” “One

Team, One Dream,” “the 3 musketeers,” “the A-team,” “The players,” “the Essex Express,” and

“The Mafia.” The “Essex Express” focused on trading Japanese yen and included traders from

UBS, Barclays, RBS, and BTMU. “The Mafia” included traders from Citigroup, Credit Suisse,

and UBS. “The Cartel” included traders at Barclays, UBS, Citigroup, and JPMorgan.

       110.   Defendant traders participating in these secret chat rooms shared their

“positions”—the amount of a specific currency that they had orders to trade at the Fix—prior to




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the WM/Reuters Fix and other Fixes. For example, that was uncovered by the Commodities

Futures Trading Commission (“CFTC”) in its investigation into Defendants’ conduct, traders at

RBS, HSBC, and an undisclosed third bank shared their positions prior to 4:00 p.m., then

congratulated each other on successfully manipulating the rate after the 4:00 p.m. Fix:

 Trader         Time                     Message
 RBS            3:45:35 p.m.             im getting abt 80 quid now…fixing
 HSBC           3:45:54 p.m.             my ny 100 quid
 RBS            3:51:19 p.m.             getting more than u now [HSBC Trader] betty
 HSBC           3:51:26 p.m.             ok thx
 Bank W         3:52:23 p.m.             nice job gents
 HSBC           3:54:16 p.m.             [RBS Trader], just matched with [Bank 1] and [Bank 2] for
                                         100, still lhs in about 140
 RBS            3:54:26 p.m.             Cool
 Bank Z         4:00:58 p.m.             i don my hat
 Bank W         4:01:08 p.m.             what a job
 Bank Z         4:01:23 p.m.             welld one lads
 Bank W         4:01:28 p.m.             Bravo
 RBS            4:07:03 p.m.             1.6218..nice
 HSBC           4:07:33 p.m.             worked ok that one

       111.    Many of Defendants’ FX traders participated in multiple chat rooms, allowing them

to communicate with many other Defendants each day. For example, in several transcripts

revealed by the CFTC, an HSBC trader participated in four separate chat rooms in the minutes

leading up to the 4:00 p.m. Fix. First, the HSBC trader entered a chat room to disclose to traders

at Barclays and other banks that he was a seller in “cable” (GBP/USD):

 Trader         Time                     Message
 Barclays 1     2:50:21 p.m.             early days but im a seller cable at fix [. . .]
 Bank S         3:11:43 p.m.             here also
 Bank R         3:24:50 p.m.             u got much to do in fix [Bank Trader W]
 Barclays 1     3:25:07 p.m.             im seller 130 cable that it [. . .]
 Barclay 1      3:28:02 p.m.             hopefulyl a fe wmore get same way and we can team whack
                                         it
 Bank R         3:28:17 p.m.             ill do some digging [. . .]
 Barclays 1     3:36:13 p.m.             im seller 170 gbp atmofix
 Bank R         3:36:26 p.m.             we sellers of 40
 HSBC           3:38:26 p.m.             lhs in cable at the fix



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 Trader         Time                     Message
 HSBC           3:38:29 p.m.             good amount [. . .]

As the 4 p.m. Fix period closed, the participants in the chat room congratulated each other:

 Bank R         4:00:35 p.m.             well done gents
 Barclays 1     4:01:56 p.m.             hooray nice team work
 HSBC           4:02:22 p.m.             nice one mate

Prior to the Fix that same day, the HSBC trader participated in a separate chat room and conveyed

the information he had learned in the first room to another Barclays trader:

 Trader         Time                     Message
 HSBC           3:25:19 p.m.             get lumpy cable at the fix ok
 Barclays 2     3:25:32 p.m.             ta mate
 Barclays 2     3:25:35 p.m.             150 here
 HSBC           3:25:46 p.m.             400 odd here
 HSBC           3:25:50 p.m.             lets go
 Barclays 2     3:26:00 p.m.             yeah baby
 HSBC           3:26:03 p.m.             [Barclays Trader 1] is too [. . .]
 Barclays 2     3:27:00 p.m.             sry thats the [Barclays] flow
 Barclays 2     3:27:23 p.m.             [Barclays Trader 1] gets
 HSBC           3:28:26 p.m.             so its 150 all day wiht you guys? [. . .]
 Barclays 2     3:36:34 p.m.             170 here

As the 4 p.m. Fix period closed, the traders celebrated:

 Trader         Time                     Message
 Barclays 2     4:01:03 p.m.             nice job mate
 HSBC           4:03:34 p.m.             haha
 HSBC           4:03:40 p.m.             i sold a lot up there
 HSBC           4:03:46 p.m.             and over sold by 100
 HSBC           4:03:48 p.m.             hahaha [. . .]
 Barclays 2     4:04:06 p.m.             sweet nice job [. . .]
 Bank W 2       4:05:04 p.m.             bravo

At the same time, the HSBC trader disclosed that he was selling at the Fix in yet another private

chat with a trader at an unknown bank prior to the close of the Fix period:

 Trader         Time                     Message
 HSBC           3:28:45 p.m.             lhs in about 300 quid cable for the fix
 Bank V         3:28:54 p.m.             sweet
 HSBC           3:29:42 p.m.             can you do some digging and seeif anyoine is that way


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 Bank V          3:29:52 p.m.             ofcourse mate
 Bank V          3:34:49 p.m.             im getting 83 at mom mate
 HSBC            3:34:56 p.m.             nice [. . .]
 Bank V          3:37:38 p.m.             someone tells a guy here he is getting 170 cble at fix
 Bank V          3:43:28 p.m.             see that [Bank U Trader]
 HSBC            3:43:57 p.m.             thx

As the 4 p.m. Fix period ended, the traders continued:

 Trader          Time                     Message
 Bank V          4:00:51 p.m.             have that my son
 Bank V          4:00:52 p.m.             hahga
 Bank V          4:00:56 p.m.             v nice mate
 HSBC            4:04:53 p.m.             that worked nice mate
 Bank V          4:05:44 p.m.             big time mate.

In a fourth chat room, the HSBC trader disclosed his position to traders at Barclays and other banks

prior to the close of the Fix period. The traders shared information about the size and direction of

the net orders at the Fix period:

 Trader          Time                     Message
 Barclays 2      3:36:18 p.m.             see first seller now
 Bank Z          3:36:48 p.m.             you gettingt betty3 on the mumble still [Barclays Trader 2]
                                          ?
 Bank Z          3:36:51 p.m.             we have nowt
 Barclays 2      3:36:56 p.m.             yep
 Barclays 2      3:36:59 p.m.             170
 Bank Z          3:37:05 p.m.             ta
 Bank Z          3:37:21 p.m.             get it up to 60/70 then bash the fck out of it
 HSBC            3:38:26 p.m.             lhs in cable at the fix
 HSBC            3:38:29 p.m.             good amount
 Bank Z          3:38:35 p.m.             ta [. . .]
 Bank Z          4:00:28 p.m.             nice work gents

By participating in multiple chat rooms and sharing information, Defendants were able to amplify

their influence on the FX market and successfully manipulate FX rates.

       112.    Defendants’ traders that were involved in the conspiracy actively monitored the

activity of other co-conspirator traders in order to ensure compliance. Traders that failed to comply

with the conspiracy were threatened with punishment by other Defendant traders.



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       113.    Only a select group of traders were allowed into the secret groups, and traders were

highly protective of their membership. In a December 2011 chat room conversation uncovered by

the CFTC, three Defendant traders discuss inviting another trader from Barclays into their chat

group, called the “Cartel”:

 Trader                              Time            Message
 Matt Gardiner (UBS)                 7:49:55 p.m.    are we ok with keeping this as is . . .
                                     7:50:27 p.m.    ie the info & risk sharing?
 Rohan Ramchandani (Citigroup)       7:50:27 p.m.    Well . . .
 Matt Gardiner (UBS)                 7:50:30 p.m.    that is the qu[estion]
 Rohan Ramchandani (Citigroup)       7:50:32 p.m.    you know him best obv . . .
                                     7:50:39 p.m.    if you think we need to adjust it
                                     7:50:43 p.m.    then he shouldn’t be in chat
 Richard Usher (JPMorgan)            7:50:54 p.m.    yeah that is key
                                     7:51:00 p.m.    simple question . . .
                                     7:51:08 p.m.    I trust you implicitly . . .
                                     7:51:13 p.m.    and your judgement
                                     7:51:16 p.m.    you know him
                                     7:51:21 p.m.    will he tell rest of desk stuff
                                     7:51:26 p.m.    or god forbid his nyk [New York office]
 Rohan Ramchandani (Citigroup)       7:51:46 p.m.    yes
                                     7:51:51 p.m.    that’s really imp[ortant] qu[estion]
                                     7:52:01 p.m.    don’t want other nuptys in mkt to know
                                     7:52:17 p.m.    but not only that
                                     7:52:21 p.m.    is he gonna protect us
                                     7:52:33 p.m.    like we protect each other against our own
                                                     branches
                                     7:52:46 p.m.    ie if you guys are rhs [right hand side, a code
                                                     for buying the first currency listed in a
                                                     currency pair] and my nyk is lhs [left hand
                                                     side] . . . ill say my nick [New York office]
                                                     lhs in few
 Matt Gardiner (UBS)                 7:53:52 p.m.    what concerns me is that i know he’ll never
                                                     tell us when at risk

After further discussion about whether the Barclays trader would “add huge value to this cartel,”

the three traders agreed to invite the Barclays trader into the chat room for a “1 month trial,”

although Citigroup trader Rohan Ramchandani warned the Barclays trader, “mess this up and sleep

with one eye open at night.”



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       114.    Defendants’ traders used the chat rooms to coordinate their trades in order to move

exchange rates in directions that favored Defendants, to the detriment of non-conspirator market

participants. Defendants used code names and words in the chat rooms in efforts to evade detection

by governmental authorities. For example, one message uncovered by regulators from a chat room

involving traders from HSBC and Barclays said: “You getting betty on the mumble still? We have

nowt . . . Get it up to 60/70 then bash the fck out of it.” “Betty” in the message is a reference to

Betty Grable, and Grable rhymes with cable – the term for USD/GBP trades. Traders in chat

rooms also used nicknames to refer to each other. For example, in the chat group known to

members as the “Cartel,” former RBS and JPMorgan trader Richard Usher was referred to as

“Feston” because he resembled an overweight version of British chef Heston Blumenthal;

Citigroup Rohan Ramchandani trader was called “Ruggy,” and Barclays trader Chris Ashton was

dubbed “Robocop.”

       B.      Defendants Conspired to Fix Bid-Ask Spreads

       115.    Beginning at least as early as December 1, 2007, as part of their conspiracy to fix

prices in the FX market, Defendants conspired to fix the bid-ask spreads paid by customers for

various currency pairs. As alleged above, there are thousands of electronic communications

between traders at two or more Defendant banks discussing FX bid-ask spreads and colluding to

manipulate FX rates.

       116.    Defendants quote bid-ask spreads directly to customers on demand throughout the

trading day.

       117.    Through electronic communications, traders employed by Defendants and their co-

conspirators exchanged information about bid-ask spreads and customer orders, and coordinated

quotes and orders between banks. For example, in a November 4, 2010 chat, a Barclays trader

discussed manipulating the USD/South African Rand rate with a JPMorgan trader, stating, “if you


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win this we should coordinate you can show a real low one and will still mark it little lower haha.”

The JPMorgan trader acknowledged the illegality of their scheme, suggesting that they “prolly

shudnt put this on perma chat.” The Barclays trader responded, “if this is the chat that puts me

over the edge than oh well. much worse out there.” Weeks later, on November 17, 2010, the same

Barclays trader entered a chat room and told traders at other banks to “show them way to the left .

. . if they come here I will show them little worse . . . you win . . . and get them cheap.” Months

later, in a chat room on February 25, 2011, the same Barclays trader coordinated with a trader at

Standard Chartered to fix bid-ask spreads. The Standard Chartered FX trader asked “what bid you

want me to show if somwone calls” and the Barclays trader responded “up to 02.” The Standard

Chartered trader replied, “okok” and “ill let you know if we get asked.” Later that year, on June

10, 2011, the Barclays trader showed up in another chat room to tell other traders that “we trying

to manipulate it a bit more in ny now . . . a coupld buddies of mine and I.”

       118.    Bid-ask spreads are a primary source of revenue for FX dealers, and in a

competitive FX market, absent collusion, a profit-maximizing dealer would seek to gain customers

and market share by beating the spreads offered by competitor dealers. On the other hand, a

decision to increase bid-ask spreads would result in a loss of customers to dealers with more

advantageous quotes. Customers want narrower spreads, allowing them to buy currency at lower

prices and sell currency at higher prices. Only through coordinated price fixing could an FX dealer

quote less desirable bid-ask spreads without losing market share.

       C.      Defendants’ Conspiracy to Fix the Benchmark Rates

       119.    Beginning at least as early as December 1, 2007, Defendants conspired to

manipulate the Fixes.

       120.    Defendants’ traders carried out their conspiracy by communicating via chat rooms,

instant messages, and email.     Through these communications, Defendants regularly shared


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confidential pricing and order information before the Fixes. Armed with this shared confidential

information, Defendants executed coordinated trading strategies designed to manipulate the Fixes.

       121.    Defendants’ conspiracy was successful in manipulating the Fixes, allowing

Defendants to earn supracompetitive profits to the detriment of non-conspirator traders, including

Plaintiffs and members of the proposed Classes.

               1.      Defendants Shared Proprietary Trade Data In Order To Manipulate
                       FX Benchmark Rates

       122.    Defendants regularly shared confidential customer trade data with traders

employed at other Defendant dealers. Each Defendant compiled trade order data to determine the

amount of currency that it needed to buy or sell at the Fixes. Defendants then shared that data with

other Defendants through secret electronic communications, enabling each Defendant to predict

and influence the movement of FX prices during and around the times of the Fixes.

       123.    Defendants’ sharing of information allowed their traders to predict how the market

would move around the times of the Fixes much more accurately than they could without the

sharing of proprietary information.

       124.    The sharing of confidential customer FX information violates the Federal Reserve

Bank of New York’s “Guidelines for Foreign Exchange Trading Activities.” Specifically, the

Guidelines provide:

       Confidentiality and customer anonymity are essential to the operation of a professional
       foreign exchange market. Market participants and their customers expect that their
       interests and activity will be known only by the other party to the transaction . . . and an
       intermediary, if one is used. It is inappropriate to disclose, or to request others to disclose,
       proprietary information relating to a customer’s involvement in a transaction except to the
       extent required by law or upon the request of the appropriate regulatory body.
       ***
       Staff should not pass on confidential and nonpublic information outside of their institution.
       Such information includes discussions with unrelated parties concerning their trades, their
       trading positions, or the firm’s position. It is also inappropriate to disclose, or to request
       others to disclose, information relating to a counterparty’s involvement in a transaction
       except to the extent required by law. Institutions should develop policies and procedures


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       governing the internal distribution of confidential information. Trading room staff should
       take special precautions to avoid situations involving or appearing to involve trading on
       nonpublic information.

       125.    Rather than taking precautions to prevent the sharing of nonpublic information, as

required by the Federal Reserve Guidelines, Defendants actively shared information about

customers, transactions, pending orders, and other nonpublic data.

               2.      Methods of Manipulating Benchmark Rates

       126.    Defendants employed a number of strategies in collusively manipulating the Fixes.

Defendants had various nicknames for these strategies, including “trading ahead,” “front-running,”

“banging the close,” “painting the screen,” “netting off,” “building,” “giving the ammo,” “taking

the ammo,” “taking out the filth,” and “clearing the decks.”

       127.    All of these strategies were accomplished by Defendants sharing confidential

customer trade information with one another in order to gain anticompetitive advantage in the FX

market and increase their chances of profiting from trades placed at the Fixes.

       128.    Defendants’ traders engaged in a market manipulation strategy called “trading

ahead” when their shared customer trade order data indicated that trades placed at and around the

Fix would move FX rates in a particular direction. If the trade data indicates that trades placed

around the Fix will cause a particular currency to rise in value, privy traders would order that

currency in advance of the Fix, and/or sell after the Fix, and profit from the gains.

       129.    Entities that purchase FX directly from Defendants often place substantial FX

orders at the Fixes hours before the Fixes are actually set. Sharing information about these

upcoming trades allowed Defendants to predict the direction that the market would move for

certain currencies.

       130.    Absent collusion, no single Defendant would have had sufficient trade data to

profitably predict the movement of the market around the times of the Fixes. Although Defendants


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collectively dominated the market, no Defendant had sufficient market share to consistently and

accurately project the direction of the market based solely on its own customer orders.

       131.    In order to avoid the risk of incorrectly guessing the direction of the market leading

up to and after the Fix, Defendants regularly agreed through secret communications to collectively

“front run” or “trade ahead,” working together to sequence their customers’ orders in order to push

FX rates in a certain direction, then buying or selling the manipulated FX for a profit. Defendants

employed this strategy to manipulate the WM/Reuters Fixes and the ECB Fixes.

       132.    In one detailed example of “front running” trader manipulation uncovered by the

United Kingdom Financial Conduct Authority (“FCA”), an HSBC trader coordinated with co-

conspirators at Barclays and other banks to manipulate the 4:00 p.m. Fix for GBP/USD by placing

multiple smaller trades leading up to the Fix, then placing large trades at the Fix to take advantage

of the manipulated rate. At around 3:30 p.m., the HSBC trader entered a chat room and told traders

“Let’s go.” A trader at another bank replied “yeah baby,” then “hopefuulyl a fe wmore get same

way and we can team whack it.” A third trader encouraged the second trader to “bask the fck out

of it.” The first trader informed the HSBC trader that he had a deal with another bank, which was

buying: “Taken him out . . . so shud have iot rid of main buyer for u . . . im stilla seller of

90 . . . gives us a chance.” HSBC ended up selling £70 million between 3:32 p.m. and the start of

the Fix period. Those early trades were designed to take advantage of the expected downwards

movement in the Fix rate following the discussions within the chat room. In that time period, the

GBP/USD rate fell from $1.6044 to $1.6009. The HSBC trader then sold £311 million during the

Fix period. HSBC, Barclays, and the two other banks involved in the chat room accounted for 63

percent of the volume of sales on the Reuters electronic trading platform that day. The 4:00 p.m.

Fix price was $1.6003, and HSBC’s profit in this trade was $162,000. After the Fix, the four




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traders congratulated each other on a successful manipulation, chatting: “Nice work gent . . . I don

my hat,” “dont mess with our ccy [currency],” “loved that mate . . . worked lovely . . . pity we

coldn’t get it below the 00 [below $1.6000],” and “we need a few more of those for me to get back

on track this month.”

       133.    In another example of “front running” uncovered by the CFTC, traders from

Barclays and HSBC discussed unloading positions just prior to the WM/Reuters Fix period,

commencing at 3:54 p.m.:

 Trader           Time                     Message
 Barclays         3:54:32 p.m.             can u let me know when are down to your last tenner
 HSBC             3:55:02 p.m.             ok
 HSBC             3:55:10 p.m.             i’m down to my last tenner
 Barclays         3:55:17 p.m.             ok ta
 Barclays         3:55:41 p.m.             just sold some more
 HSBC             3:55:49 p.m.             hahaha
 Barclays         3:55:51 p.m.             hehehe
 Barclays         4:00:57 p.m.             nice on[e] son
 HSBC             4:03:15 p.m.             learnt from a good fella
 Barclays         4:15:43 p.m.             there u go
 Barclays         4:16:48 p.m.             go early, move it, hold it, push it

       134.    In another example of “front running,” traders at JPMorgan and an undisclosed co-

conspirator bank agreed to “join forces” and “double team” euro trades prior to the Fix:

 Trader           Time                     Message
 Bank W           3:46:53 p.m.             i’d prefer we join forces
 JPMorgan         3:46:56 p.m.             perfick 3:46:59 lets do this
 JPMorgan         3:47:11 p.m.             lets double team them
 Bank W           3:47:12 p.m.             YESssssssssssss

By the 4:00 p.m. Fix, JPMorgan had built orders of €278 million, while the other trader’s orders

totaled €240 million. JPMorgan bought €57 million in the two minutes before the Fix window,

attempting to take advantage of the expected upwards movement in the Fix rate following the

discussions within the chat room. During the Fix calculation period, JPMorgan bought €134

million and the other trader bought €125 million. Between the two banks, they accounted for 41


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percent of all EUR/USD trading at the Fix. JPMorgan’s profit in this trade was $33,000. Shortly

after the fixing window, the traders congratulated themselves:

 Trader            Time (U.S. Eastern)        Message
 Bank W            4:03:25 p.m.               sml rumour we haven’t lost it
 JPMorgan          4:03:45 p.m.               we
 JPMorgan          4:03:46 p.m.               do
 JPMorgan          4:03:48 p.m.               dollarrr

        135.    Defendants also engaged in a market manipulation strategy that they referred to as

“banging the close.” “Banging the close” refers to traders breaking large FX orders into multiple

smaller trades, in order to artificially inflate the Fixes.

        136.    Because the WM/Reuters Fixes were based on the median of spot rates for trades

placed during the calculation window, but the volume of each trade was not taken into account,

the WM/Reuters Fixes were particularly vulnerable to collusive manipulation by Defendants. By

splitting large trades into multiple smaller trades, Defendant traders working in conjunction could

manipulate the median exchange rates of trades made during the WM/Reuters calculation window,

thereby manipulating the WM/Reuters Fix.

        137.    Defendants also employed these strategies, including “front running” and “banging

the close,” to manipulate the ECB Fixes.

        138.    In one example of “banging the close” in a chat room transcript uncovered by the

FCA, Citigroup had net buy orders of €200 million and stood to benefit if it was able to move the

ECB Fix rate upwards. The Citigroup traders were able to “build” this order by gathering

information about euro orders from other co-conspirator banks. Traders at the other banks agreed

to transfer their buy orders to Citigroup, and with these additional trades, Citigroup traders

accumulated €542 million in total buy orders. In the 15 seconds before the ECB fix, Citigroup

placed four buy orders of increasing size and price, which were priced at a level above the




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prevailing offer price. According to the FCA, Citigroup’s trading in this case generated a profit

of $99,000.

       139.    The converse of “banging the close” was called “clearing the decks.”              By

combining small trades into a lesser number of large trades, Defendant traders could manipulate

the WM/Reuters and ECB Fixes by artificially decreasing the number of trades placed during the

calculation windows for the Fixes, thereby manipulating the median exchange rates of trades made

during those windows.

       140.    The FCA uncovered a specific example of an RBS trader working with other banks

to manipulate the WM/Reuters GBP/USD Fix by “clearing the decks” on a day when the RBS

trader had net client sell orders at the Fix and would benefit if it was able to manipulate the 4:00

p.m. Fix rate lower. In advance of the Fix, the RBS trader shared information about its Fix orders

with other traders in a chat room, and the traders worked to combine, or “net off,” their trades by

transferring their trades to other dealer banks and combining them into larger trades. In a separate

chat room, RBS told three other traders: “We getting a lot Betty at fix” referring to GBP/USD. In

the period leading up to the 4:00 p.m. Fix, RBS built up £399 million to sell at the Fix, which was

designed to take advantage of the expected downward movement in the Fix rate following the

discussions within the chat room. RBS made $615,000 in profit on this trade.

       141.    In another “clearing the decks” example, traders at RBS and other banks agreed to

share “ammo” and combine their small trades into one large trade to manipulate the Australian

dollar and New Zealand dollar:

 Trader           Time                     Message
 Bank T Trader    3:43:32 p.m.             buying aud and nzd at the fix
 RBS Trader       3:43:43 p.m.             Tkx
 Bank T Trader    3:43:52 p.m.             ntg big
 RBS Trader       3:43:59 p.m.             Im buying 50 aud can do yours if you want
 Bank T Trader    3:45:13 p.m.             ok . . .60 plse . . .****


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 Trader            Time                      Message
 RBS Trader        3:45:56 p.m.              Great
 Bank P Trader     3:50:00 p.m.              I need to buy 25 aud at the fix too.. any int? more ammo
                                             for you…?
 RBS Trader        3:50:21 p.m.              Sure [Bank P Trader]
 Bank P Trader     3:51:24 p.m.              cool all yours [RBS Trader]
 RBS Trader        3:51:46 p.m.              Buying 220 now
 Bank P Trader     3:51:57 p.m.              good luck
 Bank T Trader     3:52:20 p.m.              load up your 50 offrs . . .
 Bank P Trader     3:53:14 p.m.              ill do those ones if you want
 RBS Trader        3:53:19 p.m.              haah
 Bank T Trader     3:53:20 p.m.              ur fkg [RBS Trader], ramp it
 Bank T Trader     4:00:41 p.m.              nice one *****
 Bank P Trader     4:00:56 p.m.              look at you! . . . well done mate . . .

        142.    Defendants also manipulated the WM/Reuters Fixes by placing phony orders with

one another during the WM/Reuters calculation window.

        D.      Other Conduct in Furtherance of the Conspiracy

        143.    In addition to fixing bid-ask spreads and the WM/Reuters and ECB Fixes,

Defendants engaged in other illegal conduct in furtherance of the conspiracy by manipulating limit

orders and triggering stop-loss orders.

        144.    A stop-loss order is an order placed with instructions to buy or sell FX once the

currency reaches a certain price. A stop-loss order is designed to limit an investor’s loss on a

currency position by allowing the investor to expressly limit their loss to a certain amount.

        145.    When a customer places a stop-loss order to buy FX, the dealer can profit if it

purchases the currency for a rate less than the price at which the customer has agreed to pay. If a

customer places a stop-loss order to sell, the dealer can profit if it sells the FX for a higher average

rate than the rate at which it buys the FX from the customer.

        146.    Defendants frequently colluded to manipulate FX Fixes in order to move the rates

towards levels that would trigger stop-loss orders and force customers to buy or sell.




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III.   DEFENDANTS’ CONSPIRACY IMPACTED INDIRECT PURCHASES OF FX
       INSTRUMENTS

       147.    Defendants’ collusive manipulation of FX spot prices and benchmark rates

significantly impacted prices throughout the market for FX Instruments.

       148.    Plaintiffs and members of the proposed Classes purchased FX Instruments directly

from entities that are members of the preliminarily-certified Direct Settlement Class in FOREX,

where the members of the Direct Settlement Class purchased those FX Instruments directly from

one or more Defendants or co-conspirators. Because members of the Direct Settlement Class are

allowed to recover overcharge damages regardless of whether they passed on those overcharges to

their customers (under the Illinois Brick “direct purchaser rule” for federal antitrust claims),

Plaintiffs and members of the proposed Classes bring this action under state Illinois Brick repealer

statutes and related state consumer protection statutes to recover the overcharge damages that were

directly passed on to them by members of the Direct Settlement Class.

       149.    Many members of the Classes proposed here, including Plaintiffs James Contant,

Sandra Lavender, Victor Hernandez, Martin-Han Tran, FX Primus Ltd., Carlos Gonzalez, Ugnius

Matkus, Charles G. Hitchcock III, Jerry Jacobson, Tina Porter, and Paul Vermillion, purchased FX

Instruments indirectly from Defendants and Defendants’ co-conspirators through FX brokers. FX

brokers, also known as retail foreign exchange dealers, allow customers to trade various types of

FX Instruments directly with the broker. To purchase an FX Instrument from an FX broker, a

customer sends an order electronically or by phone to the FX broker for an FX Instrument with a

specific currency pair, exchange rate, and volume. If the FX broker accepts the trade, the customer

pays the agreed-upon rate, often with an additional fee or commission determined by the broker,

and the broker places the FX Instrument in the customer’s account. Upon receipt of an order from

a customer, in order to hedge or cover its exposure on the resulting FX Instrument, the FX broker



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concurrently executes an FX Instrument with an FX dealer such as a Defendant with the same

volume and currency pair as the FX Instrument that the FX broker sells to the customer. Thus, the

FX broker concurrently purchases an FX Instrument from an FX dealer and then resells that FX

Instrument to the customer. By executing matching, back-to-back FX Instrument transactions with

an FX dealer and the FX broker’s customer, the broker is able to cover its exposure on customer

transactions and avoid losses associated with fluctuations in FX rates. In this scenario, the FX

broker is a direct purchaser of an FX Instrument from a Defendant or co-conspirator, and the

customer is an indirect purchaser.

       150.    FX brokers generally receive quotes from several liquidity providers for each

currency pair that they offer to their customers. The liquidity providers provide bid-ask quotes for

FX spot transactions to the FX brokers, and the FX brokers offer those quotes to their customers,

often with some additional markup determined by the brokers. During the Class Period, all sixteen

Defendants were liquidity providers for one or more FX brokers with whom Plaintiffs and

members of the proposed Classes transacted. As a result of Defendants’ conspiracy alleged herein,

FX brokers paid supracompetitive prices for FX Instruments purchased directly from Defendants

and Defendants’ co-conspirators, and those overcharges were passed on by the FX brokers to their

customers, including Plaintiffs and members of the proposed Classes.

IV.    GOVERNMENT INVESTIGATIONS OF DEFENDANTS FOR ILLEGAL
       CONDUCT IN FX TRADING

       151.    Governmental law enforcement and regulatory authorities in the United States,

United Kingdom, European Union, Brazil, Switzerland, South Africa, and several other sovereigns

are conducting ongoing investigations of Defendants’ conduct in the FX market.

       152.    On November 11, 2014, the Commodity Futures Trading Commission brought and

settled charges against Citigroup, HSBC, JPMorgan, RBS, and UBS for violations of the



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Commodity Exchange Act relating to their involvement in the FX manipulation conspiracy. The

CFTC settlements required the five Defendants to pay combined fines of over $1.4 billion,

including $310 million each for Citigroup and JPMorgan, $290 million each for RBS and UBS,

and $275 million for HSBC. On May 20, 2015, the CFTC brought and settled similar charges

against Barclays for violations of the Commodity Exchange Act relating to its involvement in the

FX manipulation conspiracy. The CFTC settlement with Barclays requires the bank to pay $400

million in fines.

        153.    On November 12, 2014, the U.S. Office of the Comptroller of the Currency

(“OCC”) announced that it assessed files of $250 million against Bank of America, $350 million

against Citigroup, and $350 million against JPMorgan “for unsafe or unsound practices related to

their foreign exchange (FX) trading businesses.” In addition to assessing monetary penalties, the

OCC issued cease and desist orders requiring the three Defendants to correct deficiencies and

enhance oversight of their FX trading activity. The OCC found that between 2008 and 2013, some

of the banks’ traders held discussions in online chat rooms for purposes of coordinating FX trading

strategies to manipulate exchange rates to benefit traders and the banks.

        154.    On May 20, 2015, the U.S. Department of Justice (“DOJ”) announced that

Defendants Citigroup, JPMorgan, Barclays, and RBS had agreed to plead guilty to felony charges

of conspiring to manipulate the prices of U.S. dollars and euros traded in the FX spot market, in

violation of the Sherman Antitrust Act, 15 U.S.C. § 1. As part of the plea deals, the four

Defendants agreed to pay criminal fines totaling more than $2.5 billion. The Defendants also

agreed to “a three-year period of corporate probation,” and are required to cooperate in the DOJ’s

ongoing criminal investigations of other Defendants and co-conspirators. Each of the four

Defendants admitted in their plea agreement that “[h]ad this case gone to trial, the United States




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would have presented evidence sufficient to prove the following facts: . . . The defendant and its

co-conspirators carried out the conspiracy to eliminate competition in the purchase and sale of the

EUR/USD currency pair by various means and methods including, in certain instances, by: . . .

coordinating the trading of the EUR/USD currency pair in connection with European Central Bank

and World Markets/Reuters benchmark currency ‘fixes’ which occurred at 2:15 PM (CET) and

4:00 PM (GMT) each trading day. . . .” The four Defendants also admitted in their plea agreements

that the conspiracy began “at least as early as December 2007 and continued until at least January

2013.”

         155.   Also on May 20, 2015, the DOJ announced that UBS had agreed to plead guilty

and pay a $203 million criminal penalty for illegal FX-related conduct in violation of a Non-

Prosecution Agreement that was entered into between UBS and the DOJ Fraud Section on

December 18, 2012. The Non-Prosecution Agreement was signed in connection with the DOJ’s

previous investigation into UBS’s involvement in a conspiracy to manipulate benchmark interest

rates, including the London InterBank Offered Rate (“LIBOR”).             The May 20, 2015 plea

agreement provides that “UBS expressly agrees that it shall not, through present or future

attorneys, officers, directors, employees, agents or any other person authorized to speak for UBS

make any public statement, including in litigation . . . contradicting the facts set forth in Exhibit

1.” The facts in Exhibit 1 of the plea agreement include:

            •   “Certain employees of UBS engaged in conduct after December 18, 2012, . . .
                namely, (i) fraudulent and deceptive currency trading and sales practices in
                conducting certain foreign exchange (“FX”) market transactions with customers via
                telephone, email, and/or electronic chat, to the detriment of UBS’s customers, and
                (ii) collusion with other participants in certain FX markets.”;

            •   “UBS’s compliance program . . . did not detect collusive and deceptive sales-related
                conduct in FX markets until an article was published pointing to potential
                misconduct in the FX markets.”; and




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           •   “Prior to, and continuing after [December 18, 2012], UBS, through one of its FX
               traders, conspired with other financial services firms acting as dealers in an FX spot
               market by agreeing to restrain competition in the purchase and sale of the
               EUR/USD currency pair in the United States and elsewhere. This was achieved by,
               among other things: (i) coordinating the trading of the EUR/USD currency pair in
               connection with ECB and WMR benchmark currency "fixes" which occurred at
               2:15 PM (CET) and 4:00 PM (GMT) each trading day, and (ii) refraining from
               certain trading behavior, by withholding bids and offers, when one conspirator held
               an open risk position, so that the price of the currency traded would not move in a
               direction adverse to the conspirator with an open risk position. UBS participated in
               this collusive conduct from in or about October 2011 and continued until at least
               January 2013.”

       156.    In connection with the DOJ investigation, the U.S. Federal Reserve imposed

additional combined fines of over $1.6 billion on Citigroup, JPMorgan, Barclays, RBS, and UBS.

       157.    Also on May 20, 2015, the New York State Department of Financial Services

(“NYDFS”) announced that Barclays would be required to pay $485 million and ordered the

termination of eight Barclays employees who engaged in New York Banking Law violations in

connection with manipulating FX rates. Barclays admitted in the consent order with NYDFS that

it had engaged in misconduct regarding the trading of FX “from at least 2008 through 2012.” On

November 18, 2015, the NYDFS ordered Barclays to pay an additional $150 million in fines and

terminate another employee for further FX trading violations.

       158.    In July 2016, HSBC’s global head of FX cash trading, Mark Johnson, was arrested

by U.S. authorities at the John F. Kennedy airport in New York on charges of conspiracy and wire

fraud. A warrant was also issued for the arrest of Stuart Scott, who was formerly Johnson’s deputy

and head of HSBC’s FX cash trading operations for Europe, the Middle East, and Africa, until he

left HSBC in 2014. U.S. prosecutors announced in October 2016 that they would institute formal

extradition proceedings for Scott, who has remained in England since the warrant was issued. In

a criminal complaint filed against Johnson and Scott on July 19, 2016, the DOJ alleges that Johnson

and Scott conspired to defraud a client company by “front running” the client’s $3.5 billion FX



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spot transaction for GBP/USD executed in December 2011. According to the DOJ complaint,

Johnson and Scott misled the client into agreeing to trade the entire $3.5 billion transaction at the

WM/Reuters 3:00 p.m. Fix. When the client agreed, Johnson and Scott discussed on a recorded

phone call how high they could “ramp” up the price of GPB/USD before the client would “squeal,”

and then placed “front running” FX orders in anticipation that the client’s order would drive up

the price of GBP/USD. Johnson and Scott encouraged other HSBC traders in New York and

London to purchase GBP in their individual trader “P-book” accounts, and Scott purchased GBP

in his P-book account. When the client authorized the trade, Scott told Johnson, “full amount”

(indicating that the client had authorized the full order), to which Johnson replied, “Ohhhh, f***ing

Christmas.” The DOJ complaint alleges that HSBC earned approximately $5 million from its

execution of the trade, and an additional $3 million from trades placed in their traders’ “P-book”

accounts. Two years prior to the arrests, HSBC conducted its own investigation into the $3.5

billion trade, but found no wrongdoing. HSBC is currently reviewing that investigation.

       159.    In December 2016, the DOJ filed sentencing memoranda indicating that Barclays,

JPMorgan, and Citigroup had provided the DOJ with evidence of another antitrust conspiracy in

the FX spot market that involves currency pairs other than EUR/USD. That new evidence led the

DOJ to broaden its long-running investigation into the manipulation of FX markets to include

additional currencies. The DOJ requested that the criminal fines for Barclays, JPMorgan, and

Citigroup be reduced due to the three banks’ assistance in the ongoing investigation.

       160.    On January 10, 2017, the U.S. District Court for the District of Connecticut entered

judgments against Citigroup, Barclays, JPMorgan, UBS, and RBS. The criminal fines imposed

against each Defendant were $925 million for Citigroup, $710 million for Barclays, $550 million




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for JPMorgan, $203 million for UBS, and $395 million for RBS. All five Defendants were

sentenced to probation for three years.

       161.    On January 4, 2017, former Barclays trader Jason Katz pleaded guilty to federal

charges. Katz worked for a year as director of emerging markets-foreign exchange trading at

Barclays beginning in 2010, joined BNP Paribas in September 2011 as director of emerging

markets-foreign exchange trading for two years, and then moved to work for Australia & New

Zealand Banking Group Ltd. In his guilty plea, Katz admitted to participating in a conspiracy with

other bankers to manipulate currency prices on electronic trading platforms by creating bogus

trades and coordinating bids with other traders while working at three different financial

institutions from 2007 to 2013. As part of the plea deal, Katz has agreed to cooperate with the

government’s ongoing investigation into Defendants’ conspiracy. The conspiracy charge Katz

admitted to has a maximum penalty of 10 years in prison and a $1 million fine, which may be

increased to twice the gain derived from the crime or twice the losses suffered by victims if either

amount is greater than $1 million.

       162.    That same day, the Federal Reserve Board announced that had permanently banned

Katz from the banking industry. The Federal Reserve Board has also issued lifetime bans to

Matthew Gardiner, a former FX trader at Barclays and UBS, and Christopher Ashton, the former

head of spot trading at Barclays. Ashton was also fined $1.2 million by the Board.

       163.    On January 10, 2017, a federal grand jury returned indictments for criminal

conspiracy against former JPMorgan, Citigroup, and Barclays traders Richard Usher, Rohan

Ramchandani, and Chris Ashton for their alleged roles in a conspiracy to manipulate the price of

U.S. dollars and euros. The three former traders were members of the chat group that dubbed

themselves the “Cartel.” The indictment found that Usher and Ramchandani started conspiring in




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December 2007, while Ashton joined the conspiracy four years later. Usher worked as a currency

trader at RBS starting in 2003, then joined JPMorgan in 2010 as their head of FX spot trading.

Ramchandani worked at Citigroup as their head of European spot FX trading. Both Usher and

Ramchandani served until as recently as December 2012 as members of the Bank of England’s

Chief Dealers Sub Group, a committee of currency traders and central bank officials tasked to

recommend “industry guidance” for the FX market. Ashton was the global head of spot trading at

Barclays. In a 2012 performance review, one of Ashton’s managers at Barclays described him as

a “superstar” and noted: “Content is a huge part of what we do. Whether that’s in chats, on the

phone or in person. You have transformed our approach to content and made it a huge advantage

to the firm.” A fourth member of the “Cartel,” Matt Gardiner, a former trader at UBS, Barclays,

and Standard Chartered, has been cooperating with the DOJ in their ongoing criminal

investigation.

       164.      On January 12, 2017, former Citigroup trader Christopher Cummins became the

second individual to plead guilty to conspiring to fix prices in the FX market. Cummins— a former

trader of central and eastern European, Middle Eastern, and African Citigroup—admitted to

working with other FX traders at competing firms from 2007 until 2013 to manipulate FX prices

on an electronic trading platform “through the creation of non-bona fide trades, coordinat[ing] the

placement of bids and offers on that platform[,] and agree[ing] on currency prices they would

quote specific customers, among other conduct,” according to a press release from the DOJ.

       165.      On April 20, 2017, the Federal Reserve announced that Deutsche Bank would be

required to pay $156.6 million for failure to detect and address its traders’ use of electronic

chatrooms to discuss their positions with competitors, and for deficiencies in Deutsche Bank’s




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oversight and internal controls regarding FX traders trading FX in proprietary accounts for the

benefit of the bank.

        166.    On November 12, 2014, the United Kingdom Financial Conduct Authority

announced that it had imposed fines totaling £1.1 billion ($1.8 billion) on Defendants Citigroup

($358 million), HSBC ($343 million), JPMorgan ($352 million), RBS ($344 million), and UBS

($371 million) for failing to control business practices in their FX trading operations. The FCA

found that between January 1, 2008 and October 15, 2013, “the Banks did not exercise adequate

and effective control over their G10 spot FX trading businesses,” and that the Defendants’ traders

“shared the information obtained through [groups of traders at multiple Defendant banks]” and

“then attempted to manipulate fix rates and trigger client ‘stop loss’ orders (which are designed to

limit the losses a client could face if exposed to adverse currency rate movements).” On May 20,

2015, the FCA fined Barclays £284 million ($441 million) for “improperly sharing confidential

client information in attempts to manipulate spot FX currency rates, including in collusion with

traders at other firms, in a way that could disadvantage those clients and the market.” The FCA

press release announcing the fine stated that between January 1, 2008 and October 15, 2013,

“Barclays’ systems and controls over its FX business were inadequate” and “[t]hese failings gave

traders in those businesses the opportunity to engage in behaviours that put Barclays’ interests

ahead of those of its clients, . . . [which] included inappropriately sharing information about clients’

activities and attempting to manipulate spot FX currency rates, including in collusion with traders

at other firms, in a way that could disadvantage those clients and the market.” The Bank of

England is supporting the FCA in its ongoing investigation of the FX manipulation conspiracy.

        167.    On July 21, 2014, the United Kingdom Securities Fraud Office (“SFO”) launched

a criminal investigation into allegations of fraudulent conduct in the FX market. On December




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19, 2014, the SFO and City of London Police arrested RBS trader Paul Nash in connection with

the investigation.   The SFO also sought interviews with several former Defendant traders,

including Citigroup’s ex-European head of spot trading Rohan Ramchandani; Richard Usher, who

moved from RBS to become JPMorgan’s chief currency dealer in London; Matt Gardiner, who

was at Barclays before joining UBS; and Chris Ashton, the former head of spot trading at Barclays.

The SFO closed its investigation in March 2016.

       168.    The Swiss Financial Market Supervisory Authority (“FINMA”) and the Swiss

competition commission, “Weko,” is currently investigating numerous Defendants, including

RBS, Barclays, UBS, Credit Suisse, JPMorgan, and Citigroup. FINMA initiated enforcement

proceedings against UBS for suspected market abuse in FX trading in October 2013, and on

November 11, 2014, FINMA announced that it was imposing several sanctions on UBS after

finding that UBS “severely violated” proper conduct in FX markets. In addition to imposing a

fine of 134 million Swiss francs ($130 million), FINMA required UBS to limit salaries for FX

traders and managers, and to automate at least 95 percent of its FX trading in order to limit

opportunities for trader manipulation. In December 2015, FINMA announced that it was imposing

sanctions on at least six former UBS managers and traders. The announcement noted that

“[t]raders shared confidential client information, sometimes revealing the identity of clients to

third parties, deliberately triggered stop-loss orders and engaged in front running. They also

repeatedly attempted to manipulate foreign exchange benchmarks.” The sanctioned former traders

were banned for up to five years for their alleged participation in conspiracies to manipulate prices

for FX and precious metals. FINMA and Weko are continuing their investigations of UBS and

other Defendants.




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       169.    In 2013, the European Commission launched an antitrust investigation into

allegations of manipulation of currency rates.        The European Commission investigation is

currently ongoing. As recently as June 2016, the European Commission asked banks to gather

sales data that could be used to calculate eventual penalties.

       170.    On February 15, 2017, following a two-year antitrust investigation, the

Competition Commission of South Africa filed a complaint against Bank of America, Barclays,

BNP Paribas, Citigroup, Credit Suisse, HSBC, JPMorgan, and Standard Chartered; as well as

Commerzbank AG, Investec Ltd., Macquarie Bank Limited, Nomura International Plc., Standard

Bank of South Africa Ltd., and Standard New York Securities Inc. The Competition Commission

alleges that from at least 2007 to 2013, the banks conspired to manipulate U.S. Dollar to South

Africa Rand exchange rates, in violation of South African antitrust laws. Specifically, the

Competition Commission alleges that the banks colluded on prices for bids, offers, and bid-offer

spreads for spot trades on rand-to-dollar exchanges; and that they manipulated rates by

coordinating trades and creating fictitious bids and offers. The Competition Commission referred

the matter to a tribunal for formal prosecution, and is seeking fines of 10 percent of each bank’s

gross revenues in South Africa.

       171.    On February 20, 2017, the Competition Commission of South Africa filed a

settlement with Citigroup. Under the terms of the settlement, Citigroup agreed to cooperate with

the Commission and provide witnesses to assist the prosecution of the other banks, and to pay an

administrative penalty of 69,500,860 Rand (approximately $5.4 million).         The Competition

Commission press release announcing the settlement states that “from at least 2007, Citibank N.A.

and its competitors had a general agreement to collude on prices for bids, offers and bid-offer

spreads for the spot trades in relation to currency trading involving US Dollar / Rand currency




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pair. Further, the Commission found that Citibank N.A. and its competitors manipulated the price

of bids and offers through agreements to refrain from trading and creating fictitious bids and offers

at particular times.”

       172.    Brazil’s antitrust agency, the Administrative Council for Economic Defense

(“CADE”), launched an investigation in 2015 of Bank of America, BTMU, Barclays, Citigroup,

Credit Suisse, Deutsche Bank, HSBC, JPMorgan, Morgan Stanley, RBC, RBS, Standard

Chartered, and UBS for their roles in the FX manipulation conspiracy. On July 14, 2015, CADE

confirmed the names of 30 bankers under investigation, including former RBS and JPMorgan

trader Richard Usher; former Barclays and UBS trader Chris Ashton; Ashton's former colleague

and former RBS trader Michael Weston; Ashton’s former Barclays colleague Mark Clark;

Citigroup’s former European head of spot trading Rohan Ramchandani; Paul Nash from RBS;

former UBS and Standard Chartered trader Matthew Gardiner; Gardiner's former boss at UBS

Niall O’Riordan; and former Standard Chartered trader Eduardo Hargreaves. CADE alleged that

the banks colluded to influence benchmark FX rates by aligning positions and pushing transactions

in a way that deterred competitors from the market between from at least 2007 to 2013. In

December 2016, CADE announced that Barclays, Citigroup, Deutsche Bank, HSBC, and

JPMorgan had admitted to participating in a conspiracy to manipulate foreign exchange markets.

In agreements approved by a Brazilian tribunal, the banks were required to pay fines of 183.5

million reals ($54.4 million). CADE also announced that there were “strong indications” that BNP

Paribas was also involved in the conspiracy.

       173.    Other countries, including Germany, Singapore, Australia, Hong Kong, and New

Zealand, have opened investigations of one or more Defendants for their anticompetitive conduct

in the FX market.




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       174.    On September 30, 2014, the Financial Stability Board, an international financial

oversight body, released a report on FX benchmark rates with recommendations for reform in the

FX markets, and especially the WM/Reuters Fix, in order to prevent wrongful manipulation of

benchmark rates in the future.

       175.    All sixteen Defendants have confirmed in public filings that they have been the

subjects of government investigations into the manipulation of FX rates.

V.     DIRECT PURCHASER LITIGATION AND SETTLEMENTS

       176.    On November 1, 2013, plaintiff Haverhill Retirement System filed a class action

complaint in this District on behalf of persons and entities that purchased FX Instruments directly

from Defendants Barclays, Citigroup, Credit Suisse, Deutsche Bank, JPMorgan, RBS, and UBS,

seeking damages for the same FX manipulation conspiracy alleged in this Complaint under the

Section 1 of the Sherman Act. See FOREX at ECF No. 1.

       177.    On January 28, 2015, the court denied a motion, made by the eleven Defendant

groups named at the time, to dismiss the direct purchaser claims under Rule 12(b)(6). See FOREX,

74 F. Supp. 3d 581, 601 (S.D.N.Y 2015) (ECF No. 242). The January opinion dismissed, however,

two separate “Foreign Complaints” that alleged antitrust violations on behalf of persons who

traded FX with Defendants in South Korea and Norway. Id. at 589, 598.

       178.    Subsequent plaintiffs (collectively, “Direct Purchaser Class Plaintiffs”) filed

complaints with similar allegations against all Defendants named in this action, on behalf of

persons and entities that entered into FX Instruments directly with Defendants and directly on U.S.

exchanges, seeking damages under the Sherman Act and the Commodity Exchange Act. On

February 13, 2016, the FOREX complaints were consolidated before this Court. Id. at ECF No. 96.

       179.    On October 22, 2015, the Direct Purchaser Class Plaintiffs in FOREX moved for

preliminary approval of settlements totaling $2,009,075,000 with nine of the sixteen Defendant


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groups named in this action: (1) JPMorgan; (2) UBS; (3) Citigroup; (4) Barclays; (5) Bank of

America; (6) Goldman Sachs; (7) RBS; (8) BNP Paribas; and (9) HSBC. Id. at ECF Nos. 480-81.

The remaining seven Defendants groups named in FOREX, all of whom are also named in this

Complaint, were not parties to the Direct Purchaser Class Settlements: (1) BTMU; (2) Credit

Suisse; (3) Deutsche Bank; (4) Morgan Stanley; (5) RBC; (6) SocGen; and (7) Standard Chartered.

Id. The motion for preliminary approval also requested that the court certify the Direct and

Exchange-Only Settlement Classes for purposes of the Direct Purchaser Class Settlements. Id.

       180.    On December 15, 2015, this Court preliminarily approved the Direct/Exchange-

Only Class Settlements, designated a settlement administrator, and preliminarily certified the

Direct and Exchange-Only Settlement Classes. Id. at ECF No. 536.

       181.    On August 31, 2016, the Direct Purchaser Class Plaintiffs filed a motion for

approval of a plan of notice, allocation, and distribution of the Direct/Exchange-Only Class

Settlements. Id. at ECF No. 653.

VI.    DEFENDANTS TERMINATED AND SUSPENDED TRADERS, FORCED
       TRADERS TO RESIGN, AND IMPLEMENTED INTERNAL SAFEGUARDS
       AFTER THE CLASS PERIOD

       182.    Since allegations of Defendants’ illegal manipulation of FX rates first became

public, Defendants have terminated and suspended numerous traders and trade supervisors

involved in FX operations. Defendants have also put traders on leave and forced traders to resign

their positions.   These terminations and punitive measures highlight the seriousness of the

government investigations into Defendants’ FX operations, and of Plaintiffs’ allegations herein.

       183.    In response to government fines and sanctions beginning in 2014, Defendants

including Barclays, Citigroup, Credit Suisse, Deutsche Bank, Goldman Sachs, JPMorgan, Morgan

Stanley, RBS, and UBS have instituted policies banning their traders from participating in multi-

bank chat rooms. Those Defendants also fired more than 50 FX traders and trading supervisors.


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        184.    Citigroup announced in February 2014 that its head of FX operations Anil Prasad

would be leaving the bank to “pursue other interests.” Citigroup also fired its head of European

FX spot trading, Rohan Ramchandani. In addition to FX executives, Citigroup also fired and/or

suspended several less-senior FX traders. In 2015, one of these fired Citigroup traders, Perry

Stimpson, sued Citigroup in London for wrongful discharge. Stimpson argued at trial that he was

pressured by senior Citigroup FX employees into using electronic chat rooms to share information

with traders at other banks, and stated at trial that his “actions were normal across the industry”

and at the bank. Several other former traders from Citigroup and other Defendant banks have

brought similar wrongful termination claims against their former employers.

        185.    In February 2017, former Citigroup trader Baris Ozkaptan prevailed in his unfair

dismissal suit against Citigroup in a U.S. employment tribunal. Ozkaptan was fired by Citigroup

for sharing the identities of clients in electronic chats, but he alleged in his suit that the bank turned

a “blind eye” to traders sharing confidential client information. Ozkaptan testified in November

2016 that Citigroup traders would routinely disclose client orders to competitors and salespeople

would warn preferred customers about trades before they moved markets if it benefited Citigroup.

        186.    Former Citigroup traders Perry Stimpson, Carly McWilliams, and Robert Hoodless

have all received favorable rulings in U.K. courts on at least part of their claims alleging that they

were wrongfully dismissed by Citigroup. The judge hearing Stimpson’s claims found that there

were “serious inadequacies” in Citigroup’s investigation before Stimpson’s dismissal, and held

that “[t]his was a very serious failure to investigate despite having very substantial resources.” In

her witness statement at trial, McWilliams stated that sharing information with rivals was part of

her “everyday job” at Citigroup. Hoodless alleged that his bosses at Citigroup “made him a

scapegoat” for the FX market-manipulation scandal.




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       187.   UBS terminated and suspended a number of traders in connection with the FX

conspiracy. In 2013, UBS suspended its global co-head of G10 FX trading in London, Niall

O’Riordan. Also in 2013, UBS fired two traders in Singapore, Mukesh Kumar Chhaganlal and

Prashan Parmeshwar Sunny Miripuri. Chhaganlal and Miripuri sued UBS in Singapore’s High

Court in March 2013 for wrongful dismissal, alleging that the bank fired them to lessen UBS’s

perceived role in the alleged manipulation of FX rates. In March 2014, UBS suspended at least

six more traders in the U.S., Singapore, and Switzerland. In June 2015, after UBS had paid

substantial fines and conducted an independent investigation into its involvement in the FX

manipulation conspiracy, UBS reinstated one of the traders that it had previously fired or

suspended.

       188.   Deutsche Bank in January 2014 dismissed three of its New York-based FX

traders—Diego Moraiz, who dealt in Latin American currencies; Robert Wallden, a director in

Deutsche Bank’s New York FX trading unit; and Christopher Fahy, a managing director at

Deutsche Bank’s New York FX office and a former FX trader at Merrill Lynch—following an

internal investigation into alleged FX manipulation.   Robert Wallden had previously been

questioned by the U.S. Federal Bureau of Investigation in 2013, regarding his electronic

communications with other FX traders.

       189.   RBS has terminated and suspended several FX employees. In October 2013, RBS

suspended London-based FX spot traders Julian Munson and Paul Nash.

       190.   In 2015, former RBS trader Ian Drysdale brought an unfair dismissal lawsuit

against RBS in London. Drysdale told a London tribunal that RBS “had to find relevant

scapegoats, of which I was one,” and issued a statement claiming that “the real reason for my

dismissal was to deflect attention from the respondent's (RBS's) own admitted failures.” The




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London judge ruled that RBS’s termination of Drysdale was unfair, but awarded the trader no

compensation because “[h]e, along with a number of others, was doing something he knew was

fundamentally wrong.”

       191.    HSBC suspended two of its London-based FX traders on January 17, 2014, amid

multiple government investigations into HSBC’s FX operations. One of the suspended traders

was Serge Sarramegna, HSBC’s chief trader for major foreign currencies.

       192.    Barclays suspended at least six FX traders on or about October 31, 2013, including

chief global FX dealer Chris Ashton, Tokyo trader Jack Murray, and London trader Mark Clark.

The New York Department of Financial Services required Barclays to terminate eight FX traders

as a part of Barclays’ penalties for its involvement in the FX rate manipulation conspiracy.

       193.    JPMorgan placed senior FX trader Richard Usher, the former head of spot G10

currency trading for the bank, on paid leave in October 2013 amid government inquiries into

potential manipulation of the FX market. In October 2014, Usher formally left the bank.

       194.    Goldman Sachs dismissed one of its FX traders, Frank Cahill, in November 2014

for his alleged involvement in FX manipulation. Prior to Goldman Sachs, Cahill worked at HSBC.

       195.    Bank of America suspended several senior FX traders in 2014.

       196.    BNP Paribas placed several senior FX traders on leave in 2014, after the bank

became a subject of government investigations into the FX manipulation conspiracy. At least one

of the suspended traders worked at Citigroup as an FX trader prior to working at BNP Paribas.

       197.    SocGen has fired at least one currency trader for involvement in the FX conspiracy.

In 2015, SocGen dismissed Ilan Botbol for several instances of misconduct regarding FX trading.

Later that year, Botbol sued SocGen in French court for unfair dismissal. SocGen responded to

the suit by arguing that the termination was justified in part because Botbol shared confidential




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customer information with a Morgan Stanley trader in 2009 and invited the trader to profit from

that information. However, SocGen did not terminate Botbol until six years after that incident

took place. Botbol argued that SocGen’s claims are undermined by the bank’s failure to monitor

employee behavior and to act promptly upon learning of the alleged infringements. Botbol also

alleged that SocGen encouraged traders to gain market intelligence by sharing information with

traders at other banks.

       198.    In February 2017, Deutsche Bank purchased full-page advertisements in the

German newspapers Frankfurter Allgemeine Zeitung and Sueddeutsche Zeitung to publish a letter

from CEO John Cryan apologizing to Deutsche Bank customers for the bank’s “serious errors” in

the U.S. subprime mortgage crisis as well as unspecified “other cases as well.” The letter states

that “some time ago serious errors were made,” “[t]he conduct of our bank did not meet our

standards and was unacceptable” in the mortgage case and “other cases as well,” and “[i]n the

name of the board of the Deutsche Bank I would now like to take this opportunity to express our

deep regret for what has happened.”

       199.    Defendants have recently implemented surveillance systems to prevent their traders

from manipulating the FX market in the future. According to PricewaterhouseCoopers’ 2016

Market Abuse Surveillance Survey, FX dealer banks have recently hired large surveillance teams

to review messages and listen in on phone calls between traders, in order to detect and deter illegal

collusion by FX traders. The PricewaterhouseCoopers report, published in February 2016, states

that FX dealer banks participating in their survey expect to substantially increase their investments

in trader surveillance in the next year, with most projecting between $7 million and $14 million in

additional spending. Some banks employ as many as 50 people to parse through trader emails and

messages and listen to trader calls in efforts to detect illegal conduct.




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                          ANTITRUST INJURY TO PLAINTIFFS

       200.   Defendants are the largest and most dominant FX traders in the global financial

system, and particularly in the U.S. FX market. Defendants are horizontal competitors, competing

to buy and sell FX by supplying quotes for FX trades. In a competitive FX market, absent

collusion, bid-ask spreads on FX Instruments would be extremely narrow, as Defendants would

drive down spreads by competing with each other to offer customers more desirable rates. As a

result, bid-ask spreads on FX Instruments purchased indirectly from Defendants would be

similarly narrow.

       201.   Defendants’ conspiracy harmed competition among dealers in the FX market. As

a result of Defendants’ collusion, indirect purchasers, including Plaintiffs and members of the

proposed Classes, paid higher prices for FX Instruments than they would have in a competitive

market.

       202.   As alleged above, Defendants’ manipulation of the Fixes and FX spot rates resulted

in anticompetitive prices for all FX Instruments. Defendants’ manipulation of the FX market was

so pervasive that Plaintiffs and the other members of the proposed Classes could not have

participated in the FX market during the Class Period without suffering damage as a result of

Defendants’ anticompetitive conduct. As a direct and proximate result of Defendants’ conspiracy,

Plaintiffs and members of the proposed Classes were deprived of the advantageous prices,

exchange rates, and bid-ask spreads that would have resulted from normal price competition in the

FX market.

       203.   Defendants’ conduct in furtherance of the conspiracy harmed Plaintiffs and the

Class members in several ways. Defendants conspired to fix prices and conform their FX trade

quotes. Defendants also agreed to coordinate the timing and volume of trades in order to

manipulate the market, to the benefit of Defendants and the ultimate detriment of Plaintiffs and


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the members of the Proposed Classes. These actions, individually and collectively, had the effect

of artificially increasing the prices paid by non-Defendant FX purchasers and decreasing the prices

received by non-Defendant FX sellers, thereby overcharging FX customers. Thus, Defendants’

actions deprived Plaintiffs and the members of the Proposed Classes of a competitive marketplace

and exposed them to artificial pricing and volatility.

       204.    The injuries suffered by Plaintiffs and members of the proposed Classes are directly

traceable to Defendants’ anticompetitive conduct alleged herein. On any day that one or more of

the Fixes or spot rates were manipulated by Defendants, all members of the Direct Settlement

Class (i.e. all entities that purchased FX Instruments directly from Defendants and Defendants’

co-conspirators) paid supracompetitive prices for those FX Instruments. Each time a member of

the proposed Classes purchased an FX Instrument directly from a member of the Direct Settlement

Class (and thus indirectly purchased from one or more Defendants or co-conspirators), the

overcharge incurred by the direct purchaser as a result of Defendants’ FX manipulation was

directly passed on to the member of the proposed Classes.

       205.    Absent collusion, each individual Defendant would have had an independent

incentive to quote tighter bid-ask spreads in order to stay competitive with other dealers in the FX

market. Thus, no single Defendant would have fixed its own bid-ask spread but for a conspiracy

among multiple Defendants.

       206.    Absent collusion, an individual Defendant’s attempt to manipulate FX rates would

have little to no effect on the FX market. Thus, no single Defendant could have consistently

manipulated FX rates but for the conspiracy.

                              FRAUDULENT CONCEALMENT

       207.    Throughout the Class Period, Defendants knowingly, fraudulently, and deliberately

concealed their conspiracy to fix FX prices from Plaintiffs and members of the proposed Classes.


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       208.    Concealment of the secret communications between Defendants was an essential

element of the conspiracy to manipulate FX prices. Defendants communicated through non-public

chat rooms, phone calls, instant messages, text messages, email, and at in-person meetings.

       209.    On June 11, 2013, Bloomberg Business published an article reporting that several

Defendants had colluded to manipulate the WM/Reuters Fixes by collectively front-running

customer orders. To Plaintiffs’ knowledge, this was the first public report concerning Defendants’

price manipulation in the FX market. Subsequent news articles and government investigation

reports further revealed the involvement of all Defendants and the nature of Defendants’

widespread conspiracy.

       210.    Prior to the Bloomberg article, information regarding Defendants’ conspiracy was

not reasonably available to Plaintiffs or members of the proposed Classes.

       211.    Defendants only allowed high-level traders to participate in secret communications

regarding the conspiracy. In efforts to avoid detection, these traders used code words and names,

phone calls, encrypted messages, and other communication platforms that are difficult or

impossible to trace.

       212.    In one example of a trader attempting to conceal FX manipulation, a JPMorgan FX

trader warned a Barclays trader that they should not discuss their plan to manipulate the

USD/South African Rand rate via instant message. In a November 4, 2010 chat transcript that was

later uncovered by the New York Department of Financial Services, the Barclays trader stated, “if

you win this we should coordinate you can show a real low one and will still mark it little lower

haha.” The JPMorgan trader replied that they “prolly shudnt put this on perma chat,” and Barclays

trader responded “if this is the chat that puts me over the edge than oh well. much worse out there.”




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       213.    As a result of Defendants’ efforts to conceal their conspiracy, Defendants

successfully prevented Plaintiffs from being able to learn of the facts needed to bring suit against

Defendants for conspiring to manipulate FX prices until at least June 11, 2013.

       214.    Because Defendants fraudulently concealed their conspiracy in deliberate efforts to

prevent Plaintiffs and members of the proposed Classes from commencing suit, Defendants are

equitably estopped from asserting that any otherwise applicable limitations period has run.

                                     CLAIMS FOR RELIEF

                                 FIRST CLAIM FOR RELIEF
              Violations of Section 1 of the Sherman Antitrust Act, 15 U.S.C. § 1
                      (On Behalf of All Plaintiffs against All Defendants)

       215.    Plaintiffs incorporate each allegation above as if fully set forth herein.

       216.    Defendants and unnamed conspirators entered into and engaged in a contract,

combination, or conspiracy in unreasonable restraint of trade, in violation of Section 1 of the

Sherman Act (15 U.S.C. § 1).

       217.    The acts done by Defendants as part of, and in furtherance of, their and their co-

conspirators’ contract, combination, or conspiracy were authorized, ordered, or done by their

officers, agents, employees, or representatives while actively engaged in the management of

Defendants’ affairs.

       218.    At least as early as 2007, and continuing until at least 2013, the exact dates being

unknown to Plaintiffs, Defendants and their co-conspirators entered into a continuing agreement,

understanding, and conspiracy in restraint of trade to artificially fix, raise, stabilize, and control

prices for FX Instruments, thereby creating anticompetitive effects.

       219.    The anticompetitive acts were intentionally directed at the United States market for

FX Instruments and had a substantial and foreseeable effect on interstate commerce by raising and

fixing prices for FX Instruments throughout the United States.


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          220.   The conspiratorial acts and combinations have caused unreasonable restraints in the

market for FX Instruments.

          221.   As a result of Defendants’ unlawful conduct, Plaintiffs and other similarly situated

indirect purchasers in the Nationwide Class have been harmed in the form of overcharges on FX

Instruments.

          222.   In formulating and carrying out the alleged agreement, understanding, and

conspiracy, Defendants and their co-conspirators did those things that they combined and

conspired to do, including but not limited to the acts, practices, and course of conduct set forth

herein.

          223.   Defendants’ conspiracy had the following effects, among others:

                 a.     Price competition in the market for FX Instruments was restrained and

suppressed in the United States;

                 b.     Prices for FX Instruments were fixed, raised, maintained, and stabilized at

artificial, non-competitive levels throughout the United States; and

                 c.     Plaintiffs and members of the Nationwide Class who purchased FX

Instruments indirectly from Defendants and their co-conspirators were deprived of the benefits of

free and open competition.

          224.   Plaintiffs and members of the Nationwide Class have been injured and will continue

to be injured in their business and property by paying more for FX Instruments purchased

indirectly from Defendants and their co-conspirators than they would have paid in the absence of

the conspiracy.

          225.   The alleged contract, combination, or conspiracy is a per se violation of the

Sherman Act.




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       226.    Plaintiffs and members of the Nationwide Class are entitled to an injunction against

Defendants, preventing and restraining the violations alleged herein.

                             SECOND CLAIM FOR RELIEF
                               Violations of the Donnelly Act,
                      New York General Business Laws § 340, et seq.
                (On Behalf of the New York Plaintiff against All Defendants)

       227.    Plaintiffs incorporate each allegation above as if fully set forth herein.

       228.    Defendants have entered into an unlawful agreement in restraint of trade in

violation of the New York General Business Laws § 340, et seq. (the “Donnelly Act”). The New

York Plaintiff, on behalf of the proposed statewide New York Class of indirect FX purchasers,

alleges as follows:

               a.      Beginning at least as early as December 1, 2007, and continuing throughout

the Class Period, Defendants and their co-conspirators entered into and engaged in an agreement,

arrangement, or combination, in violation of New York General Business Laws § 340, et seq., by

engaging in the acts and practices detailed above. Each Defendant has acted in violation of § 340

to restrain competition and fix, raise, and maintain artificial prices for FX Instruments.

               b.      Defendants’ and their co-conspirators’ agreement, arrangement, or

combination had the following effects: (i) FX Instrument price competition was restrained,

suppressed, and eliminated throughout New York; (ii) FX Instrument prices were raised, fixed,

maintained, and stabilized at artificially high levels throughout New York; (iii) the New York

Plaintiff and members of the New York Class were deprived of free and open competition; and

(iv) the New York Plaintiff and members of the New York Class were overcharged for FX

Instruments that they indirectly purchased from Defendants and Defendants’ co-conspirators.

               c.      Throughout the Class Period, Defendants’ anticompetitive conduct alleged

herein substantially affected intrastate New York commerce. The New York Plaintiff and all



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members of the proposed New York Class were domiciled in New York during the Class Period

and/or purchased FX Instruments in New York indirectly from one or more Defendants during the

Class Period. Many Defendants are headquartered in New York City and/or maintain their

principal places of business in New York, and Defendants all conduct significant business in New

York, including business relating to FX trading. Defendants Merrill Lynch, Pierce, Fenner &

Smith Inc.; Barclays Capital Inc.; BNP Paribas North America, Inc.; BNP Paribas Securities Corp.;

BNP Paribas Prime Brokerage, Inc.; Citigroup Inc.; Citibank, N.A.; Citigroup Global Markets Inc.;

Credit Suisse Securities (USA) LLC; Deutsche Bank Securities Inc.; The Goldman Sachs Group,

Inc.; Goldman, Sachs & Co; HSBC North America Holdings, Inc.; HSBC Bank USA, N.A.; HSBC

Securities (USA) Inc.; JPMorgan Chase & Co.; JPMorgan Chase Bank, N.A.; Morgan Stanley;

Morgan Stanley & Co., LLC; and RBC Capital Markets LLC all have their principal places of

business and/or headquarters in New York, New York. Defendants Bank of America Corporation;

The Bank of Tokyo Mitsubishi UFJ Ltd.; Société Générale S.A.; Standard Chartered Bank; UBS

Securities LLC; Barclays Bank PLC; Credit Suisse AG; Deutsche Bank AG; and Royal Bank of

Scotland Group PLC all have major New York offices and conduct a substantial portion of their

FX trading in New York. All Defendants communicated regularly with Defendant traders in New

York for purposes of carrying out the unlawful conspiracy alleged herein.

               d.      Defendants’ agreement, arrangement, or combination caused the New York

Plaintiff and the members of the New York Class to incur anticompetitive overcharges on FX

Instruments. The New York Plaintiff and the members of the New York Classes thereby suffered

injury in fact in the form of lost money or property.

               e.      By reason of the foregoing, Defendants have entered into agreements in

restraint of trade in violation of the Donnelly Act, New York General Business Laws § 340, et seq.




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The conduct set forth above is a per se violation of the Act. Accordingly, the New York Plaintiff

and members of the New York Class seeks treble damages, costs of suit (up to $10,000), and

reasonable attorneys’ fees.

                                 THIRD CLAIM FOR RELIEF
                      Violations of Arizona’s Uniform State Antitrust Act,
                          Arizona Revised Statutes, §§ 44-1401, et seq.
                    (On Behalf of the Arizona Plaintiff against All Defendants)

       229.    Plaintiffs incorporate each allegation above as if fully set forth herein.

       230.    Defendants have entered into an unlawful agreement in restraint of trade in

violation of the Arizona Revised Statutes, §§ 44-1401, et seq.

       231.    Defendants have entered into an unlawful contract, combination, or conspiracy in

restraint of trade and commerce, in violation of the Arizona Revised Statutes, §§ 44-1401, et seq.

(the “Uniform State Antitrust Act”). The Arizona Plaintiff, on behalf of the proposed statewide

Arizona Class of indirect FX purchasers, alleges as follows:

               a.       Beginning at least as early as December 1, 2007, and continuing throughout

the Class Period, Defendants and their co-conspirators entered into and engaged in a continuing

unlawful conspiracy in restraint of the trade and commerce, as described above, in violation of the

Uniform State Antitrust Act. Each Defendant has acted in violation of the Uniform State Antitrust

Act to fix, raise, and maintain artificial prices for FX Instruments.

               b.       Defendants’ unlawful conspiracy consisted of a continuing agreement,

understanding, and concerted action among Defendants and their co-conspirators. Defendants

entered into and participated in the unlawful trust for purposes of, inter alia, (i) creating and

carrying out restraints in the FX market; (ii) artificially manipulating the prices of FX Instruments,

including FX Instruments sold in Arizona and to Arizona residents; (iii) preventing competition

and competitive prices in the FX market; (iv) establishing and settling prices for FX Instruments



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between Defendants, so as to preclude unrestrained competition among themselves and all

purchasers and owners of FX Instruments; and (v) creating and carrying out agreements to pool

and combine Defendants’ financial interests connected with their sales and purchases of FX

Instruments.

               c.       The combination and conspiracy alleged herein has had, inter alia, the

following effects: (i) price competition in the market for the sale of FX Instruments has been

restrained and suppressed in the State of Arizona and throughout the United States; (ii) prices for

FX Instruments have been fixed, raised, stabilized, and pegged at artificial levels in the State of

Arizona and throughout the United States; and (iii) those who purchased FX Instruments directly

or indirectly from Defendants and their co-conspirators have been deprived of the benefit of free

and open competition.

               d.       As a direct and proximate result of Defendants’ unlawful conduct, the

Arizona Plaintiff and members of the Arizona Class have been injured in their business and

property in that they incurred overcharges on FX Instruments that they otherwise would not have

incurred in the absence of Defendants’ unlawful conduct.

               e.       Defendants’ violations of the Uniform State Antitrust Act were flagrant, as

defined by Arizona law.

               f.       As a result of Defendants’ violations of the Uniform State Antitrust Act, the

Arizona Plaintiff and members of the Arizona Class seek three times the damages sustained and

their cost of suit, including reasonable attorney’s fees.

                              FOURTH CLAIM FOR RELIEF
                              Violations of the Cartwright Act,
                  California Business and Professions Code § 16720, et seq.
                (On Behalf of the California Plaintiffs against All Defendants)

       232.    Plaintiffs incorporate each allegation above as if fully set forth herein.



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       233.    Defendants have entered into an unlawful agreement in restraint of trade in

violation of the California Business and Professions Code, § 16700, et seq. (the “Cartwright Act”).

The California Plaintiffs, on behalf of the proposed statewide California Class of indirect FX

purchasers, allege as follows:

               a.      Beginning at least as early as December 1, 2007, and continuing throughout

the Class Period, Defendants and their co-conspirators entered into and engaged in a continuing

unlawful trust in restraint of the trade and commerce, as described above, in violation of California

Business and Professions Code § 16720. Each Defendant has acted in violation of § 16720 to fix,

raise, and maintain artificial prices for FX Instruments.

               b.      Defendants’ unlawful trust consisted of a continuing agreement,

understanding, and concerted action among Defendants and their co-conspirators. Defendants

entered into and participated in the unlawful trust for purposes of, inter alia, (i) creating and

carrying out restraints in the FX market; (ii) artificially manipulating the prices of FX Instruments,

including FX Instruments sold in California and to California residents; (iii) preventing

competition and competitive prices in the FX market; (iv) establishing and settling prices for FX

Instruments between Defendants, so as to preclude unrestrained competition among themselves

and all purchasers and owners of FX Instruments; and (v) creating and carrying out agreements to

pool and combine Defendants’ financial interests connected with their sales and purchases of FX

Instruments.

               c.      The combination and conspiracy alleged herein has had, inter alia, the

following effects: (i) price competition in the market for the sale of FX Instruments has been

restrained and suppressed in the State of California and throughout the United States; (ii) prices

for FX Instruments have been fixed, raised, stabilized, and pegged at artificial levels in the State




                                                 80
of California and throughout the United States; and (iii) those who purchased FX Instruments

directly or indirectly from Defendants and their co-conspirators have been deprived of the benefit

of free and open competition.

               d.      As a direct and proximate result of Defendants’ unlawful conduct, the

California Plaintiffs and members of the California Class have been injured in their business and

property in that they incurred overcharges on FX Instruments that they otherwise would not have

incurred in the absence of Defendants’ unlawful conduct.

               e.      As a result of Defendants’ violations of the Cartwright Act, the California

Plaintiffs and members of the California Class seek treble damages and their cost of suit, including

reasonable attorney’s fees, pursuant to § 16750(a) of the California Business and Professions Code.

                               FIFTH CLAIM FOR RELIEF
                    Violations of California’s Unfair Competition Law,
                  California Business and Professions Code § 17200, et seq.
                (On Behalf of the California Plaintiffs against All Defendants)

       234.    Plaintiffs incorporate each allegation above as if fully set forth herein.

       235.    Defendants have engaged in unfair competition or unfair, unconscionable,

deceptive, or fraudulent acts or practices in violation of California Business and Professions Code

§ 17200, et seq. (California’s Unfair Competition Law). The California Plaintiffs, on behalf of the

proposed statewide California Classes of indirect FX purchasers, allege as follows:

               a.      Beginning at least as early as December 1, 2007, and continuing throughout

the Class Period, Defendants committed acts of unfair competition, as defined by § 17200, et seq.

of the California Business and Professions Code, by engaging in the acts and practices specified

above. Each of the Defendants has acted in violation of § 17200 to fix, raise, and maintain artificial

prices for FX Instruments.




                                                 81
               b.       Defendants’ conduct as alleged herein violated § 17200, et seq. of the

California Business and Professions Code. The acts, omissions, misrepresentations, practices, and

non-disclosures of Defendants, as alleged herein, constituted a common, continuous, and

continuing course of conduct of unfair competition by means of unfair, unlawful, and/or fraudulent

business acts or practices within the meaning of § 17200, et seq., including, but not limited to, the

following: (i) violations of Section 1 of the Sherman Act, as set forth above; and (ii) violations of

the Cartwright Act, as set forth above.

               c.       Defendants’ acts, omissions, misrepresentations, practices, and non-

disclosures, as described above, whether or not in violation of Section 1 of the Sherman Act and

the Cartwright Act, and whether or not concerted or independent acts, were otherwise unfair,

unconscionable, unlawful, or fraudulent.

               d.       Defendants’ acts and practices were unfair to indirect purchasers of FX

Instruments in the State of California within the meaning of § 17200 of the California Business

and Professions Code.

               e.       Defendants’ acts and practices were fraudulent or deceptive within the

meaning of § 17200 of the California Business and Professions Code.

               f.       The California Plaintiffs and members of the California Class are entitled

to full restitution and/or disgorgement of all revenues, earnings, profits, compensation, and

benefits that may have been obtained by Defendants as a result of such business acts or practices.

               g.       The unlawful and unfair business practices of Defendants caused the

California Plaintiffs and the members of the California Class to incur overcharges on FX

Instruments. The California Plaintiffs and the members of the California Class suffered injury in

fact in the form of lost money or property as a result of such unfair competition.




                                                 82
                h.     As alleged in this Complaint, Defendants and their co-conspirators have

been unjustly enriched as a result of their wrongful conduct and by Defendants’ unfair competition.

The California Plaintiffs and the members of the California Class are accordingly entitled to

equitable relief, including restitution and/or disgorgement of all revenues, earnings, profits,

compensation, and benefits that may have been obtained by Defendants as a result of such business

practices, pursuant to the California Business and Professions Code, §§ 17203 and 17204.

                                 SIXTH CLAIM FOR RELIEF
              Violations of the Florida Deceptive and Unfair Trade Practices Act,
                                   Fla. Stat. § 501.201, et seq.
                  (On Behalf of the Florida Plaintiffs against All Defendants)

       236.     Plaintiffs incorporate each allegation above as if fully set forth herein.

       237.     Defendants have engaged in unfair methods of competition, unconscionable acts or

practices, and unfair or deceptive acts or practices in the conduct of trade or commerce, in violation

of Fla. Stat. § 501.201, et seq. (the “Florida Deceptive and Unfair Trade Practices Act”). The

Florida Plaintiffs, on behalf of the proposed statewide Florida Class of indirect FX purchasers,

allege as follows:

                a.     Beginning at least as early as December 1, 2007, and continuing throughout

the Class Period, Defendants and their co-conspirators entered into and engaged in unfair methods

of competition, unconscionable acts or practices, and unfair or deceptive acts or practices in the

conduct of trade or commerce, in violation of the Florida Deceptive and Unfair Trade Practices

Act. Each Defendant has acted in violation of the Florida Deceptive and Unfair Trade Practices

Act by entering into and engaging in a conspiracy to restrain competition and unfairly and

deceptively fix and inflate prices for FX Instruments.

                b.     Defendants’ unlawful combination or conspiracy consisted of a continuing

agreement, understanding, and concerted action among Defendants and their co-conspirators.



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Defendants entered into and participated in the unlawful conspiracy for purposes of engaging in

unfair methods of competition and unfair trade practices to fix, control, and maintain the prices

charged for FX Instruments throughout the United States, including in the State of Florida.

               c.       The combination and conspiracy alleged herein has had, inter alia, the

following effects: (i) price competition in the market for the sale of FX Instruments was restrained

and decreased in Florida and throughout the United States; (ii) prices for FX Instruments were

fixed, controlled, and maintained at artificial levels in the State of Florida and throughout the

United States; (iii) those who purchased FX Instruments directly or indirectly from Defendants

and their co-conspirators were deprived of the benefits of free and open competition; and (iv)

Florida Plaintiffs and the Florida Class paid supracompetitive, artificially inflated prices for FX

Instruments.

               d.       Throughout the Class Period, Defendants’ illegal conduct substantially

affected Florida commerce and consumers.

               e.       As a direct and proximate result of Defendants’ unlawful conduct, the

Florida Plaintiffs and members of the Florida Class have been injured in their business and

property in that they incurred overcharges on FX Instruments that they otherwise would not have

incurred in the absence of Defendants’ unlawful conduct. As a result of Defendants’ violations of

the Florida Deceptive and Unfair Trade Practices Act, the Florida Plaintiffs and members of the

Florida Class seek actual damages plus attorney's fees and court costs, pursuant to Fla. Stat. §

501.211.

                               SEVENTH CLAIM FOR RELIEF
                            Violations of the Illinois Antitrust Act,
                                740 Ill. Comp. Stat. 10/1, et seq.
                    (On Behalf of the Illinois Plaintiff against All Defendants)

       238.    Plaintiffs incorporate each allegation above as if fully set forth herein.



                                                 84
       239.    Defendants have entered into an unlawful agreement in restraint of trade in

violation of 740 Ill. Comp. Stat. 10/1, et seq. (the “Illinois Antitrust Act”). The Illinois Plaintiff,

on behalf of the proposed statewide Illinois Class of indirect FX purchasers, alleges as follows:

               a.      Beginning at least as early as December 1, 2007, and continuing throughout

the Class Period, Defendants and their co-conspirators entered into and engaged in a combination

or conspiracy, in violation of the Illinois Antitrust Act, by engaging in the acts and practices

detailed above. Each Defendant has acted in violation of the Illinois Antitrust Act to restrain

competition and fix, control, and maintain prices for FX Instruments and to unreasonably restrain

trade and commerce in the market for FX Instruments.

               b.      Defendants’ unlawful combination or conspiracy consisted of a continuing

agreement, understanding, and concerted action among Defendants and their co-conspirators.

Defendants entered into and participated in the unlawful trust for purposes of fixing, controlling,

and maintaining the prices charged for FX Instruments.

               c.      The combination and conspiracy alleged herein has had, inter alia, the

following effects: (i) price competition in the market for the sale of FX Instruments was restrained

and decreased in the State of Illinois and throughout the United States; (ii) prices for FX

Instruments sold by Defendants and their co-conspirators were fixed, controlled, and maintained

at artificial levels in the State of Illinois and throughout the United States; and (iii) those who

purchased FX Instruments directly or indirectly from Defendants and their co-conspirators were

deprived of the benefits of unhampered commerce and free and open competition.

               d.      Defendants’ conduct in furtherance of the conspiracy that occurred at

Defendant offices outside of the United States had a direct, substantial, and reasonably foreseeable

effect on trade and commerce in the State of Illinois and throughout the United States.




                                                  85
               e.      As a direct and proximate result of Defendants’ unlawful conduct, the

Illinois Plaintiff and members of the Illinois Class have been injured in their business and property

in that they incurred overcharges on FX Instruments that they otherwise would not have incurred

in the absence of Defendants’ unlawful conduct. As a result of Defendants’ violations of the

Illinois Antitrust Act, the Illinois Plaintiff and members of the Illinois Class seek treble damages,

plus reasonable attorneys’ fees and court costs, pursuant to 740 Ill. Comp. Stat. Ann. 10/7.

                              EIGHTH CLAIM FOR RELIEF
                 Violations of the Massachusetts Consumer Protection Act
                             Mass. Gen. Laws ch. 93A, §1 et seq.
              (On Behalf of the Massachusetts Plaintiff against All Defendants)

       240.    Plaintiffs incorporate each allegation above as if fully set forth herein.

       241.    Defendants have entered into an unlawful conspiracy in restraint of trade or

commerce in violation of Mass. Gen. Laws ch. 93A, §1 et seq. (“Chapter 93A”).                   The

Massachusetts Plaintiff, on behalf of the proposed statewide Massachusetts Class of indirect FX

purchasers, alleges as follows:

               a.      Throughout the Class Period, all Defendants were engaged in trade or

commerce as defined by Chapter 93A.

               b.      Defendants’ conduct as alleged herein violated Chapter 93A. The acts,

omissions, misrepresentations, practices, and non-disclosures of Defendants, as alleged herein,

constituted a common, continuous, and continuing course of conduct of unfair methods of

competition and unfair or deceptive acts or practices in the conduct of trade or commerce within

the meaning of Chapter 93A.

               c.      Defendants carried out the conspiracy through unfair methods of

competition and unfair or deceptive acts or practices.        These methods, acts, and practices




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substantially affected commerce in the Commonwealth of Massachusetts and throughout the

United States.

                 d.     Defendants’ conspiracy had, inter alia, the following effects: (i) price

competition in the market for the sale of FX Instruments was restrained and decreased in

Massachusetts and throughout the United States; (ii) prices for FX Instruments sold by Defendants

and their co-conspirators were fixed, controlled, and maintained at artificial levels in

Massachusetts and throughout the United States; and (iii) those who purchased FX Instruments

directly or indirectly from Defendants and their co-conspirators were deprived of the benefits of

unhampered commerce and free and open competition.

                 e.     As a direct and proximate result of Defendants’ unlawful conduct, the

Massachusetts Plaintiff and members of the Massachusetts Class have been injured in their

business and property in that they incurred overcharges on FX Instruments that they otherwise

would not have incurred in the absence of Defendants’ unlawful conduct.

                 f.     As a result of Defendants’ violations of Chapter 93A, the Massachusetts

Plaintiff and members of the Massachusetts Class seek treble damages and their cost of suit,

including reasonable attorney’s fees, pursuant to Chapter 93A.

                 g.     Each Defendant has been mailed or delivered a demand letter in accordance

with Chapter 93A. More than thirty days has passed since such demand letters were mailed or

delivered, and each Defendant has failed to make a reasonable settlement offer.

                                 NINTH CLAIM FOR RELIEF
                      Violations of the Minnesota Antitrust Law of 1971,
                               Minn. Stat. §§ 325D.49 to 325D.66
                  (On Behalf of the Minnesota Plaintiff against All Defendants)

       242.      Plaintiffs incorporate each allegation above as if fully set forth herein.




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       243.    Defendants have entered into an unlawful combination or conspiracy in

unreasonable restraint of trade in violation of Minn. Stat. §§ 325D.49 to 325D.66 (the “Minnesota

Antitrust Law of 1971”). The Minnesota Plaintiff, on behalf of the proposed statewide Minnesota

Class of indirect FX purchasers, alleges as follows:

               a.      Beginning at least as early as December 1, 2007, and continuing throughout

the Class Period, Defendants and their co-conspirators entered into and engaged in a combination

or conspiracy, in violation of the Minnesota Antitrust Law of 1971, by engaging in the acts and

practices detailed above. Each Defendant has acted in violation of the Minnesota Antitrust Law

of 1971 to restrain competition and fix, control, and maintain the market prices for FX Instruments;

to affect, fix, control, maintain, or limit the sale or supply of FX Instruments with the effect of

affecting, fixing, controlling, or maintaining the market price for FX Instruments; and to

unreasonably restrain trade and commerce in the market for FX Instruments.

               b.      Defendants’ unlawful combination or conspiracy consisted of a continuing

agreement, understanding, and concerted action among Defendants and their co-conspirators.

Defendants entered into and participated in the unlawful trust for purposes of fixing, controlling,

and maintaining the prices charged for FX Instruments.

               c.      The combination and conspiracy alleged herein has had, inter alia, the

following effects: (i) price competition in the market for the sale of FX Instruments was restrained

and decreased in the State of Minnesota and throughout the United States; (ii) prices for FX

Instruments sold by Defendants and their co-conspirators were affected, fixed, controlled, and

maintained at artificial levels in the State of Minnesota and throughout the United States; (iii) price

quotations of bids on FX Instruments were fixed and controlled by Defendants; and (iii) those who




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purchased FX Instruments directly or indirectly from Defendants and their co-conspirators were

deprived of the benefits of free and open competition.

               d.       As a direct and proximate result of Defendants’ unlawful conduct, the

Minnesota Plaintiff and members of the Minnesota Class have been injured in their business and

property in that they incurred overcharges on FX Instruments that they otherwise would not have

incurred in the absence of Defendants’ unlawful conduct. As a result of Defendants’ violations of

the Minnesota Antitrust Law of 1971, the Minnesota Plaintiff and members of the Minnesota Class

seek treble damages and their cost of suit, including reasonable attorneys’ fees, pursuant to Minn.

Stat. Ann. § 325D.57.

                                TENTH CLAIM FOR RELIEF
                 Violations of the North Carolina Unfair Trade Practice Act
                                 N.C. Gen. Stat. § 75-1, et seq.
              (On Behalf of the North Carolina Plaintiffs against All Defendants)

       244.    Plaintiffs incorporate each allegation above as if fully set forth herein.

       245.    Defendants have entered into an unlawful conspiracy in restraint of trade or

commerce in violation of N.C. Gen. Stat. § 75-1, et seq. (the “North Carolina Unfair Trade Practice

Act”). The North Carolina Plaintiffs, on behalf of the proposed statewide North Carolina Class of

indirect FX purchasers, allege as follows:

               a.       Beginning at least as early as December 1, 2007, and continuing throughout

the Class Period, Defendants and their co-conspirators entered into and engaged in a combination

or conspiracy, in violation of the North Carolina Unfair Trade Practice Act, by engaging in the

acts and practices detailed above. Each Defendant knowingly entered the conspiracy and acted in

violation of the North Carolina Unfair Trade Practice Act to restrain competition and fix, control,

and maintain prices for FX Instruments and to unreasonably restrain trade and commerce in the

market for FX Instruments.



                                                 89
               b.      Defendants’ unlawful combination or conspiracy consisted of a continuing

agreement, understanding, and concerted action among Defendants and their co-conspirators.

Defendants willfully entered into and participated in the unlawful trust for purposes of fixing,

controlling, and maintaining the prices charged for FX Instruments.

               c.      Defendants carried out the conspiracy through unfair methods of

competition and unfair or deceptive acts or practices.       These methods, acts, and practices

substantially affected commerce in the State of North Carolina and throughout the United States.

               d.      The combination and conspiracy alleged herein has had, inter alia, the

following effects: (i) price competition in the market for the sale of FX Instruments was restrained

and decreased in North Carolina and throughout the United States; (ii) prices for FX Instruments

sold by Defendants and their co-conspirators were fixed, controlled, and maintained at artificial

levels in North Carolina and throughout the United States; and (iii) those who purchased FX

Instruments directly or indirectly from Defendants and their co-conspirators were deprived of the

benefits of unhampered commerce and free and open competition.

               e.      Defendants’ conspiracy in restraint of trade violates the principles of North

Carolina common law, in further violation of the North Carolina Unfair Trade Practice Act.

               f.      Defendants’ conspiracy was continuous throughout at least the Class

Period.

               g.      As a direct and proximate result of Defendants’ unlawful conduct, the North

Carolina Plaintiffs and members of the North Carolina Class have been injured in their business

and property in that they incurred overcharges on FX Instruments that they otherwise would not

have incurred in the absence of Defendants’ unlawful conduct.




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                h.        As a result of Defendants’ violations of the North Carolina Unfair Trade

Practice Act, the North Carolina Plaintiffs and members of the North Carolina Class seek treble

damages, plus reasonable attorney's fees and court costs, pursuant to N.C. Gen. Stat. § 75-16.

                                     REQUESTS FOR RELIEF

        Plaintiffs respectfully request the following relief:

        A.      That the Court determine that the claims alleged herein are suitable for class

treatment and certify the proposed Classes pursuant to Federal Rule of Civil Procedure 23;

        B.      That the Court appoint Plaintiffs as the representatives of the Classes;

        C.      That Plaintiffs’ counsel be appointed as counsel for the Classes;

        D.      That the Court award the New York Plaintiff and the New York Class damages in

amounts according to proof against Defendants for Defendants’ violations of New York state

antitrust law, trebled;

        E.      That the Court award the Arizona Plaintiff and the Arizona Class damages in an

amount according to proof against Defendants for Defendants’ violations of Arizona state antitrust

law, trebled;

        F.      That the Court award the California Plaintiffs and the California Class damages in

an amount according to proof against Defendants for Defendants’ violations of California state

consumer protection and antitrust laws, trebled;

        G.      That the Court award the Florida Plaintiffs and the Florida Class damages in an

amount according to proof against Defendants for Defendants’ violations of Florida state consumer

protection law;

        H.      That the Court award the Illinois Plaintiff and the Illinois Class damages in an

amount according to proof against Defendants for Defendants’ violations of Illinois state antitrust

law, trebled;


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        I.      That the Court award the Massachusetts Plaintiff and the Massachusetts Class

damages in an amount according to proof against Defendants for Defendants’ violations of

Massachusetts state consumer protection law, trebled;

        J.      That the Court award the Minnesota Plaintiff and the Minnesota Class damages in

an amount according to proof against Defendants for Defendants’ violations of Minnesota state

antitrust law, trebled;

        K.      That the Court award the North Carolina Plaintiffs and the North Carolina Class

damages in an amount according to proof against Defendants for Defendants’ violations of North

Carolina state antitrust law, trebled;

        L.      That Defendants be enjoined from engaging in further unlawful conduct;

        M.      That Plaintiffs and the Classes be awarded their costs of suit, including reasonable

attorneys’ fees; and

        N.      That Plaintiffs and the Classes be awarded pre- and post-judgment interest on all

sums awarded, and other relief as the Court deems necessary and justified.

                                    DEMAND FOR JURY TRIAL

        Pursuant to Federal Rule of Civil Procedure 38(b), Plaintiffs request a trial by jury of all

claims alleged herein so triable.


Dated: June 30, 2017                          Respectfully submitted,

                                              /s/ Michael Dell’Angelo
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